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                                                UNCLASSIFIED//FOUO

                           FEDERAL BUREAU OF INVESTIGATION
                                            Electronlc Communication




          Title:         (U//FOUO) Case Opening Request                       Date:   10/08/2019

          From:         NEW ORLEANS
                           NO-16
                           Contact:   Clinton D. Epperson, 504-816-3000

          Approved By :       SSA REED RONALD
                              A/CDC Kyle E. Hanrahan
                              Jeffrey B . Veltri

          Drafted By:         Clinton D. Epperson

          Case ID#:         282B - NO-3179991       (U//FOUO ) SENSITIVE INVESTIGATIVE MATTER




                                                   OFFICE ;
                                                   VICTIM-JERRY HAMILTON ROGERS/LOCATION-ST
                                                   TAMMANY PARISH ;
                                                   CONSPIRACY AGAINST RIGHTS



         Synopsis:      (U//FOUO) Writer requests a full investigation into the below
         matter to investigate allegations that reasonably indicate a civil right
         violation occurred when Jerry Rogers was arrested by the St . Tammany
         Parish Sheriff ' s Office (STPSO ) for violating Lo u isiana State Statute
         14 : 47 - Defamation ; a law previously ruled unconstitutional by the Supreme
         Court of the United States .

         Details:

         PREDICATION

         The FBI New Orleans Division received information , to include media
         articles , the STPSO arrested Jerry Rogers            (ROGERS) , a United States
         Department of Housing and Urban Development (HUD) Agent , on September 16 ,
         2019 for criminal defamation , after ROGERS sent emails that criticized a


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STPSO investigation to a victim's family member.         Additionally, STPSO
investigators were told the by 22nd Judicial Attorney's        (DA) Office's


the statute was previously ruled unconstitutional prior to ROGERS '
arrest .   At least one (1) news outlet reported the information in ROGERS'
email(s) was sent to two current candidates opposing
- - in the 2019 election for the position of St. Tammany Parish
Sheriff.

INVESTIGATION TO DATE

On September 23 , 2017, FBI Special Agent (SA) Clinton D. Epperson and
Task Force Officer (TFO) Russell Varmall interviewed -           in reference to
the September 16 , 2019, arrest of ROGERS.        ROGERS was arrested for
violating Louisiana State Statute 14 : 47-Defamation.

According to -          ROGERS, previously employed as a STPSO Deputy, worked
for HUD as a federal agent .      ROGERS was a friend of former STPSO -
                                    who was involved in the investigation into
the 2017 homicide of Nanette Krentel .        ROGERS was believed to have
received information concerning the homicide investigation from
                 ROGERS emailed a member(s) of KRENTEL ' s family to included
KRENTEL ' s sister who was a prosecutor outside of Louisiana.       In the email
ROGERS criticized STPSO's investigation of KRENTEL's homicide. According
to the affidavit for ROGERS' arrest , STPSO initially investigated the
matter as an obstruction of justice matter.

                 13 , 2019 , -   had a meeting with


             to discuss the investigation into ROGERS ' email to KRENTEL ' s
family member(s).       The STPSO deputies communicated they had internally
ruled out charging ROGERS with obstruction of justice, but believed
14:47-Defamation was an appropriate charge .       -     told the STPSO

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    personnel , -       would research the viability of charging 14:47-Defamation
    and inform STPSO of his opinion at a later time.

    On the morning of September 16 , 2019 , _ met with other ADAs in the
    DA's office and found prior court rulings in which 14:47-Defamation was
    deemed unconstitutional. The fact patterns of the previous cases were
_ similar to ROGERS' case . -           infor~ed              the DA' s office would
    not support the use of the statute to charge ROGERS due to previous
    courts ruling the statute was unconstitutional . -             also notified
                 that the                          from the case due to ROGERS'
                             being employed as a secretary within the DA . -
    believed the call with                occurred approximately at or before
    11:00AM. -        later learned ROGERS was arrested for violating 14 : 47-
    Defamation under the authority of a warrant signed by
                               with -          as the affiant .

    At a meeting , unrelated to the ROGERS case , -               told -    the timing
    of ROGERS arrest was not                  decision.

                                    was interviewed on September 23, 2019 .
                                been tasked with locating documentation of
    previous rulings on 14 : 47-Defamation for -          -         was also present
    for -        telephonic conversation with an unknown person within STPSO .
-             recalled -      phone conversation occurred sometime prior to
    lunch.




    ANTICIPATED INVESTIGATION

    Based on the above information, the writer respectfully requests a full
    investigation be opened to investigate for evidence of a criminal
    conspiracy conducted by the above mentioned STPSO members , and/or others,



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Re:  282B -NO-3179991, 10/08/2019



to deprive ROGERS of his constitutionally protected civil rights. Due to
                                                                    Executive
Staff, as well                             ranks, this matter will be
captioned as a                            MATTER .




••




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                                                   FEDERAL BUREAU OF INVESTIGATION



                                                                                                                            Date of entry        10/10/ 2019


                                                                             of birth ( DOB)
                                                                               was interviewed at the 2 2nd Judicial
        District Attorney ' s                     (DA) Office , 701 N. Columbia Street , Covington , LA
        7 0 4 33 .      After being advised of the identities o f the interviewing Agents and
        the nature of the interview, -provided the following information :

        On September 13 ,                                                 with St . Tammany Parish Sheriff ' s Office


                                                                                                                                                                           an
        investigation into Jerry Rogers                                    (ROGERS) .

        ROGERS , a previous STPS O deputy , was empl o yed at the United Stated
        Department of Housing and Urban Devel o pment (HUD ) as a federal law
        enforcement agent .                      ROGERS was investigated by STPSO after emails that
        critici z ed STPSO ' s investigative efforts were sent to the family member(s )
        o f Nanette Krentel (KRENTEL ) .                                KRENTEL ' s 20 17 death was ruled a homicide ,
        but n o arrest had been made . The emails , sent from the email address
        " justicenanette@yahoo . c o m," were believed t o be sent by ROGERS and were
        critical of STPSO detecti v es that previously led and/ o r cuirently led the
        investigation .                                                                                            , who was friends with
        ROGERS , was involved in the investigation at one point until he was fired
        for leaking case specific information to ROGERS .

        The deputies that met with -                                      indicated , based on · their investigation ,
        ROGERS would not be charged with an o bstructi o n of justice charge .                                                                        The
        deputies wished to charge ROGERS with vi o lating Louisiana statute 14 : 47-
        Defamation for the statements made in the emails. -                                                                  received a copy of
        STPSO' s investigation.                         -           stated he was n o t willing to provide an answer
        at the meeting , but wo uld provide an answer at a later time .

        On the morning of September 16 , 2 01 9 , at appr o ximately 9 : 00AM .                                                                     received


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   Investigation on    09/20/2019           at   Mandeville , Louisiana , United States ( In Person)
  Fi le #   282B - N0 - 3179991                                                                                                Date drafted    O9/25/2019

  by    Clinton D. Epperson , Russell Antoine Varmall
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            a phone call from                              requested an answer as to whether
            the DA ' s office supported STPSO charging ROGERS . • believed that -
                                  was telling or pressuring the detectives to move quickly
            to arrest ROGERS .




                                                                    the constitutionality
            14 : 47-Defamation . It was determined previous application of 14 : 47-Defamation
            had been ruled unconstitutional on multiple o ccasions . •               , speaking about
            the use of 14 : 47-Defamation -as a charge , " To think someone can be arrested
            for this is crazy . "

            With                                    present , -   contacted           by phone
            between 10 : 30AM and                    did not have a record of the exact time of
            the call . -       told                             did not support the use of
            14 : 47-Defamation , as it had been found unc o nstitutional on multiple
            occasi o ns in previous applications . - tol ~           the DA ' s office was
            going to rescues themselves from the case due to ROGERS ' wife , _
                                 , working as a secretary in the DA ' s office . - t~ld-
                                           would also advise the Louisiana Attorney General ' s
            (AG ' s ) Office of the DA ' s recusal and of the previous court opinions that
            14 : 47-Defamation was unconstitutional . -           later sent letters and emails
            to both STPSO and the AG ' s office making the notification .

        -         later learned STPS O arrested ROGERS f o r 14 : 47-Defamati o n on September
            16 , 2019 . The affidavit for the arrest warrant as well as the actual arrest
            warrant , signed by                                                 appeared to be signed
            via an electronic document system called Cloudgavel(ph) . -          and -
                            reviewed the DA office ' s rec o rds and believed they found
            only one submission for a 14 : 47 - Defamation charge in the DA office ' s
            history ; -          had done the research .

                                                                            was recently fired by
                                                          firing , because           was
            " one o f their most competent " detectives and had been on a task force with
            the United States Secret Service (USSS) . -             learned of
            firing from an email from STPSO                             -        learned



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ContinuationofFD-302of (U//FOUO) I nterview o f _ _ _ _ _ _ , On          09/20/2019   , Page   3 of   4




             was fired for sharing privileged information used to defame STPSO and
             personnel .

             It was -        understanding that the information in the emails ROGERS sent to
             KRENTEL's sister , who was a prosecutor outside of Louisiana , predated
                              involvement in the investigation .

         -        stated                                , a candidate running for St _ Tammany
             Sheriff , made a post on Facebook .    In the post ,               , reported -
             had threatened- - after                        had made comments , online ,
             critical of -         a~~ the KRENTEL investigation .

         -           told Agents there was an incident during STPSO ' s investigation into
             ROGERS ' emails involving ROGERS in Monroe , LA .       During the incident ROGERS
             made incoherent statements and the Monroe SWAT team was dispatched to the
             hotel ROGERS ' was staying at.    -         left work to go to the scene in
             Monroe .     ROGERS made statements to the affect that he [ROGERS] was sexually
             abused as a child and that ROGERS may have sexually abused his brother and
             sister .

                                         was currently ROGERS attorney .    -          was
             previously in-house counsel for STPSO .

         -            provided the following items :

                • St . Tammany Parish Sheriff ' s Office Booking Receipt for ROGERS
                   dated 9/16/2019 .
                • Affidavit For Arrest Warrant for the arrest of ROGERS signed by
                 -             and            signed on Monday , September 16 , 2019 .
                •~           arrant for ROGERS signed by             on Monday , September
                   16 , 2019 .
                • Email correspondence from                            paralegal ,
                   to STPSO and the Louisiana Attorney General ' s Office recusing the
                   DA ' s Office from the ROGERS case , as well as notification of the
                   potential unconstitutionality of the 14 : 47 - Defamation statute .
                • STPSO ' s memorandum confirming re- ei t of DA Office ' s recusal .
                   A letter from ROGERS ' attorney ,            that contained " Call For
                   Service Detail Report - CFS 1248 " rom the Monroe Police Department ,
                   and a narrative sy~                  y West Monroe Police Department
                   Crisis Negotiator ~
                • Copies of emails sent from ' Justicenanette@yahoo . com ," purportedly
                   by ROGERS , to KRENTEL ' s sister


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               • 2018 Unconstitutional Statutes Biennial Report To The Legislature
                 In Accordance With R . S . 24 : 204(A) (10) , from the Louisiana State
                 Law Institute Constitutional Law Committee , and printed excerpts
                 from the State v . Snyder (1972) .

          Additionally , -             forwarded a screen shot of                       Facebook
          post .

           [The above mentioned items ,                      Facebook post , as well as SA
          Epperson and Varmall ' s original notes were made a part of the
          investigative file via lA . ]




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FD-302 (Rev. 5-8-1 0)                                                                                                                                 Oocunwitpstldplnll;,_drglillly...._.
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                                                   FEDERAL BUREAU OF INVESTIGATION




                                                                                                                           Date of entry        1 0/15/ 2 0 19



                                                                    date of birth (DOB)                                                              cell
                                                           was interviewed at the 22nd
           Judicial District Attorney ' s Office , 701 N. Columbia Street , Covington , LA
           70 43 3 .    After being advised of the identities of the interviewing Agents and
           the nature of the interview , -                                        pro vided the following info rmation :

                  At approximately 9 : 00AM or 9 : 30AM o n September 16 , 2019 ,
       -            asked -       if state statute 14 : 47-Defamation was
           unconstitution;l. -        believed the statute had been deemed
           unconstitutional , but researched the matter .

              -              found previous rulings that f o und 14 : 47 Defamation
           unconstitutional .                -                learned the St . Tammany Parish Sheriff ' s Office
           (STPSO) wanted to arrest an individual on the charge . -            said " this is
           s o obvi o us " that if STPS O arrested a person o n that charge the deputies
                                                                                          and



                              and -                    " I don ' t think we can refuse the charges fast
           enough ."



             -
           sometime
           made the call.
                                                                    spoke with someone from STPSO on the phone ,
                                                                       not recall if
                                                               been in the room with
           for approximately 10-15 minutes before the phone call occurred.

           -        was asked to research , within Carpel(ph) , a data management
         system , if the DA ' s office had ever charged 14 :4 7-Defamation. -
         contacted                          in the Washingt o n Parish arm of the office .
       -         stated , per  Carpel , one case had been submitted to the DA's office in
           Washington Parish , but the case was not prosecuted . -                                                                   found the DA ' s


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   lnvestigationon      09/24/2019          at   Covington , Louisiana , United States (In Person)

   File #    282B - NO- 3179991                                                                                               Date drafted    1 0 / 0 4 / 2 01 9

  by       Clinton      D.   Epperson , Russell Antoi n e Varmall
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          282B - NO- 3179991
Continuation ofFD-302 of (U/ / F OUO)   Interview of                   , On   09/24/2019   , Page   2   of 2
                                                                 ---



          o ffice in St . Tammany had initially charged 14 : 47 - Defamation , but later
          changed the charge . -        expl ained the fact pattern in that case was
          better characterized as a " revenge porn case . "

            -       learned of Jerry Rogers ' (ROGERS) arrest for violating 14 : 47 -
          Defamation at approximately 4 : 20PM via text from a co-worker .

            -       did not know the specifics on the ROGERS case , but understood it
          was connected to the firing of STPSO
                                 -          had worked on a pervious case with




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FD-1036 (Rev. 10-16-2009)
                                              UNCLASSIFIED//FOUO

                            FEDERAL BUREAU OF INVESTIGATION
                                                  Import Form




          Form Type:        Letter Incom - Letter - Incoming               Date :   10/15/2019

          Title : (U//FOUO) Letter From Attorney                     , containing texts and
                 emails sent by Rogers .

          Approved By:        SSA REED RONALD

          Drafted By :        Clinton D. Epperson

          Case ID#:         282B-NO-3179991       (U//FOUO) SENSITIVE INVESTIGATIVE MATTER




                                                  FFICE ;
                                                 VICTIM-JERRY HAMILTON ROGERS/LOCATION-ST
                                                 TAMMANY PARISH ;
                                                 CONSPIRACY AGAINST RIGHTS



         Synopsis:   (U//FOUO) On October 9 , 2019, SA Epperson received , via mail,
         a letter from the -         Law Firm . Jerry Rogers ' (ROGERS) attorney _
                             requested Agents not utilize medical release forms to
         obtain ROGERS ' medical records , until ROGERS spoke with his
         employer/supervisors .

         Additionally , -        provided all emails ROGERS sent from the email
         address " justicenanette@yahoo . com ."



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                              FEDERAL BUREAU OF INVESTIGATION
                                                       Import Form




           Form Type:          LHM - Letter Head Memorandum                      Date:   10/15/2019

           Title : (U)        Opening LHM to USAO re : Captioned Investigation

          Approved By:           SSA REED RONALD

          Drafted By:            Clinton D. Epperson

           Case ID#:           282B - NO-3179991       (U// FOUO) SENSITIVE INVESTIGATIVE MATTER




                                                      VICTIM-JERRY HAMILTON ROGERS/LOCATION-ST
                                                      TAMMANY PARISH ;
                                                      CONSPIRACY AGAINST RIGHTS



          Synopsis:  (U//FOUO) On October 10 , 2019 SA Clinton D. Epperson sent the
          Opening LHM in reference to the captioned matter to the USAO of Eastern
          District of Louisiana via email ; to be followed with hard copy .



          ••




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                                                   FEDERAL BUREAU OF INVESTIGATION



                                                                                                                           Date of entry        1 0/1 7 / 2 0 1 9



                Jerry Rogers (ROGERS) , date of birth ( DOB) November 3 , 1972 , LA DL#
        005531730 , cell phone 985-789 - 7239 , home address 82096 Highway 1080 , Folsom ,
        LA 70437 , was interviewed at                                                        Firm , 1974 Highway 190 , Covington ,
        LA 7043 3 .           Also present was                                               , ROGERS ' attorney .                         After being
        advised of the identities of the interviewing Agents and the nature of the
        interview , ROGERS pro vided the following information :

              ROGERS was currently employed with the United States Department of
        Ho using and Urban Development (HUD) as a series 1811 Agent .                                                                  ROGERS worked
        at HUD for 10 years and worked a t the St . Tammany Parish Sheriff ' s Office
           (STPS O) as a deputy for 11 years prior to working for HUD .

              ROGERS worked with STPSO                                                                                                           during
        ROGERS ' time employed at STPSO .                                   After ROG ERS was h ired at HUD , ROGERS
        continued to work HUD cases with                                                           when HUD needed assistance from
        STPSO .

              ROGERS explained STPS O invest i gated the homicide of Nanette Krentel
           (KRENTEL) that occurred appr o ximately two ( 2 ) years ago .                                                        KRENTEL ' s husband
       was a Fire Chi ef .                       ROGERS follo wed the investigation online through media
        reports and through social media . KRENTEL ' s sister ,                                                                                                   was
       a prosecutor in the state of Nebraska .                                             ROG ERS obtain ed
       address from                         -          a friend of ROGERS ,
       previously worked as a deputy at STPSO , but currently worked at Fed Ex as a
       Security Specialist .

              ROGERS sent the first email to -                                               in December of 2 018 .                          The email
       contained information ROGERS learned through public/online s o urces and
       social media .                 ROGERS was critical of STPS O' s investigation and the
       detecti v es on the investigation .                                    ROGERS was critical of detective First
       Name Unknown ( FNU)                                                      , because ROGERS was told -                                            was a


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   Investigationon      10/03/2019          at   Covington , Louisiana , United States                                (In Person)

  File #    2828 - NO- 317999 1                                                                                               Date drafted    1 0/ 04/ 2 019

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ContinuationofFD-302of (U//FOUO) Interview of Jerry Rogers           , On   10/03/2019   , Page   2 of 6
                         -----------------------

          " rookie ."

                 ROGERS said he never received information specific to the KRENTEL
          investigation from                    ROGERS understood that            role in
          the investigation was to analyze KRENTEL ' s husband ' s financial records , as
                          was not a homicide detective .      ROGERS had conversations with
                          prior to             being assigned to the investigation .

             -       printed copies of the emails from ROGERS to -      and provided
          the printouts to the Agents , along with a time line of the emails , created
          by -

             In the emails to -        ROGERS prefaced the fact that the information he
          her was not vetted , nor he certain the information was 100 % correct . ROGERS
          also sent potential questions for -       to ask investigators . ROGERS did
          not intend to harm the family , but rather wanted to relay concerns he had
          about the investigation since -            was out of the state.

                 ROGERS used the email address " justicenanette@yahoo . com " because ROGERS
          was concerned if STPSO found out ROGERS sent the emails , STPSO would
          retaliate against ROGERS or his family .           ROGERS was specifically concerned
          because ROGERS ' brother ,                  worked at STPSO on computers , but not
          as a deputy.       ROGERS ' wife worked at the district attorney ' s office , and
          ROGERS feared for his wife ' s job .

                 ROGERS sent the first email on December 29 , 2018 , but did not receive a
          response from -             ROGERS resent the email on January 10 , 2019 and
          received a response .

                On August 13 or 14 , 2019 , STPSO                   and
                          with ROGERS at ROGERS ' office at HUD , unannounced .                      and
                    visit made ROGERS nervous . -       and -       said the purpose of
          their visit was an internal investigati on of information being leaked
        . outside o f STPSO and they wanted to talk to ROGERS about emails .                ROGERS was
          told he was not the focus o f the investigation . -        and -     said
          they have ROGERS ' phone records and read ROGERS ' emails . -      ~aid the
          IP address on one of the emails was sent from the HUD office , but ROGERS did
          not recall every sending any emails to -      from ROGERS ' HUD office .
          ROGERS only used his personal computer or personal phone to send the


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                                                 UNCLASSIFIED//FOUO
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ContinuationofFD-302of    (U//F0U0)   Interview of Jerry Rogers         , On    10/ 03/ 2019   , Page   3 Of 6




           emails .       ROGERS thought he may have sent an email from his work cell phone .
           ROGERS told the detectives none of the information in the emails was from
           any investigator on the KRENTEL case . -       and
           interviewi ng           next . ROGERS notified his
       -                after            and -         left .

              When the detectives mentioned they had ROGERS ' emails , ROGERS recalled
           approximately two (2) years ago he had sent information via his personal
           email address to FBI Special Agents (SAs) Richard Voyles and Wayne Horner .
           Prior to sending SAs the information , ROGERS and -                       met with the SAs at
                           office in Covington .       The information , sent to the SAs , concerned
           possible criminal activity committed by St . Tammany Parish
                                  ROGERS thought it was possible STPSO had the emails and
           would retaliate against ROGERS and/or his family ; ROGERS was very concerned .



              -             asked for a follow up interview with ROGERS on/or about August
           22 , 2019 .      ROGERS declined the interview and retained -                   as his
           attorney around that time period .

             -        stated he called STPSO                                to let him
           know he -         was representing ROGERS . During the conversation -
           confirmed the investigation was initially an internal investigation , but it
           had turned into a criminal investigation .          indicated STPSO was
           looking at possible " obstruction " charges .                       had no more
           communication with -                    until September 16 after ROGERS arrest .

                  On the afternoon of Monday , September 16 , 2019 , ROGERS was outside of his
           home when a car with three (3) STPSO detectives arrived .                  ROGERS was at home
           during a weekday after he was placed on administrative leave on August 20 ,
           2019 , due to a medical issue . STPSO
           and                 told ROGERS they had a warrant for ROGERS ' arrest .
           ROGERS was arrested, although the detectives did not tell ROGERS why he was
           being arrested.  ROGERS was given his Miranda Warning on scene . ROGERS was
           transported to the St . Tammany Jail (STJ) . At STJ , ROGERS signed his
           Miranda Warning and was asked questions related to the booking process .
           During the booking process ROGERS was specifically asked if he was
           suicidal .       ROGERS answered h~ was not suicidal .



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               ROGERS was taken by four (4) corrections officers to a portion of the
         jail with which ROGERS was not familiar .             ROGERS was made to enter a cell
         and strip all of his clothing off .           ROGERS was given a green padded gown for
         clothing .         Other than the green gown , ROGERS wore no clothing .

               ROGERS was removed from the cell and asked a nearby deputy why he was
         being arrested and booked .          The deputy looked up something on his computer
         and said , " Here is a press release. "         Based on that statement ROGERS
         believed the media had been made aware of his arrest .                The deputy informed
         ROGERS he had been arrested for the charge of Defamation .                  ROGERS asked ,
         " Why am I back here in this suit? "          The deputy answered that it was
         " Something medical would have to talk to you about ."               ROGERS felt his
         treatment in the jail was " payback or retaliation for the emails.                           This is
         how they are paying me back ."

              Approximately one hour passed and a person from medical spoke with
         ROGERS .         ROGERS again asked why he was in the back of the jail in the green
         gown .         The person from medical said he would check his file , but never came
         back to speak to ROGERS .

              Approximately one hour passed when ROGERS was given a pair of blue paper
         scrubs to wear .          ROGERS walked to the front in the paper scrubs to complete
         the booking process and to be fingerprinted .            Once the booking paperwork was
         completed , ROGERS was taken to a room and allowed to change int o his
         original personal clothing .

               ROGERS waited for approximately one and a half h ours as the bond was
         set .         Once the bond was set , ROGERS was taken to Lakeview Hospital where
         ROGERS ' wife , father , and HUD co-worker ,                                 were waiting _
         Once at the hospital , the STPSO deputy left ROGERS with the hospital staff .
         A doctor asked ROGERS why he[ROGERS] was here .            ROGERS believed it was
         because someone at STPSO said he[ROGERS] was suicidal .                 ROGERS told the
         doctor it was " Payback ."

               ROGERS was at the hospital for approximately one (1) to two (2) hours
         while a mental evaluation was completed by the doctor .                 ROGERS answered the
         doctor ' s questions and was ultimately released .

              ROGERS explained he had contact with                       prior to September 16 ,


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            2019 .      After exchanging several emails to determine the meeting location ,
            ROGERS met with                     at              house on September 15 , 2019 .

               At the meeting                            confused as to why he                             had
            been fired by STPSO .                     had documents in his hand that ROGERS
            understood were                                                   but ROGERS did not read
            the paperwork .                                                                         emails and
            phone                                         of " leaking " information .          ROGERS told
                            none of the information ROGERS sent to -                 contained
            information he [ROGERS] received from

               Agents asked ROGERS if he [ROGERS] had ever sent any o ther individuals
            emails critical of other investigations .          ROGERS sent emails to -
                                         regarding the investigation of former St . Tammany
                                        ;-          was -          attorney . ROGERS
            believed he used email address " jkelly@yahoo . com " to communicate anonymously
            with -          The email from ROGERS to -      contained information ROGERS
            had obtained from social media and other publicly available information .

               ROGERS sent                             , a candidate running against -
            for St . Tammany Sheriff , a list of general questions.  ROGERS said the
            questions were general questions he asked of the candidate in order to learn
            more about                   ROGERS denied he sent any information to
            ROGERS used " justincenanette@yahoo . com " to email

               ROGERS denied using alcohol or drugs at the time he sent the emails to
        -          or             ROGERS said he was currently on several medications
            after an incident that happened near Monroe , Louisiana.

               Sometime after ROGERS was interviewed by -         and -        ROGERS went
            to Monroe , Louisiana for work . ROGERS went to MONROE with HUD Agent
                        After completing the necessary work in Monroe , ROGERS and
                      agreed to leave at approximately 5 : 00AM the next morning . ROGERS
            did not sleep the night before he left Monroe due to anxiety issues .                        ROGERS
            said he was hearing and seeing things throughout the night .                   ROGERS was also
            anxious about STPSO retaliating against him and/or losing his job for
            sending -           the emails .     ROGERS had been having trouble sleeping prior to
            his trip to Monroe .



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                ROGERS didn ' t recall all the details of the incident in Monroe.                   ROGERS
          ultimately learned he refused to come out of his hotel room and the police
          were called .        The police surrounded his room with a SWAT team .           ROGERS spoke
          to several people by phone and eventually came out of his room where he was
          taken into custody by police and taken to a hospital , where he stayed f o r at
          least two days .           He was later taken to a hospital in Kenner and diagnosed
          with PTSD .      ROGERS was given prescription medication which helped him sleep
          and reduce his anxiety .           ROGERS was placed on administrative leave and will
          be re-evaluated before he returns to work .

                ROGERS state he would print the text communications and emails he sent to
                          and provide the printed material to Agents at a later date.

                ROGERS signed four (4) Authorization Form For Disclosure Of Protected
          Health Information f orms .

           [AGENT ' s NOTE :     On October 4 , 2019 , ROGERS n o tified SA Epperson that he
           [ROGERS) had sent additional emails from the " justicenanette@yahoo . com "
          account . ROGERS sent anonymous                                      criticizing
          government contract issues and to                           Mothers Against Drunk
          Driving (MADD) . ROGERS stated he would print the emails and provide them to
          SA Epperson at~ later date . )

                The printouts provided by _ , as well as the notes of the
          interviewing agents , were made a part of the investigative file via lA .




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                                                                                                                          Date of entry        10/30/2019



           On October 29 , 2019 , Federal Bureau of Investigation Special Agent (SA)
       Clinton D. Epperson met with attorney                           at his office ,
       1974 Highway 190 Suite #3 , Covington ,                    previously
       contacted and informed SA Epperson there were documents ready for pickup at
                 office .

          -       provided SA Epperson with an envelope that contained printed
       emails and text messages from Jerry Rogers (ROGERS) . -        was provided
       the printed emails and texts by ROGERS . The printed emails contained
       communications between ROGERS and former St . Tammany Parish Sheriff ' s Office
                                                               , as well as emails sent by ROGERS to Mothers
       Against Drunk Driving .

         -        told SA Epperson St . Tammany Parish
       made a press release wherein -      discussed ROGERS ' mental health and
       arrest .

          The documents released by -        were made apart of the investigative
       file via lA , as was a news article that contained -       press release.




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   lnvestigationon      10/29/2019         at   Covington , Louisiana , United States (In Person)

  File#   282B - N0- 3179991                                                                                                 Date drafted    1 0 / 2 9/201 9

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                                                                                                                             Date of entry       11/04/ 2 0 19



                                                                                                                          the Louisiana Attorney
                                                                                                , email address
                                                              was interviewed telephonica l ly . After being
        advised of the iden t ity of the in t erviewing Agent and the nature of the
        interview , -                      provided the following information :

             -            was a ware of the arrest of Jerry Rogers (ROGERS) by St . Tammany
        Parish Sheriff ' s Office (STPSO) detectives for violating Louisiana statut e
        14 : 47 - Criminal Defamation . -   had not received STPSO ' s investigative
        file and did not have all the facts of the investigation , but the Louisiana
        statute 14 : 47 - Criminal Defamation was deemed unconstitutional in previous
        applications . The assistant district att o rney ,             , told the STPSO
        detectives the statute was likely unconstitutional prior to detectives
        arresting ROGERS . -      stated STPSO detectives were " idiots " for using the
        statute to arrest a person . - said he would attempt to keep an open
        mind , but thought it was unlikely the LAGO would prosecute ROGERS .

           On or about Monday , October 28th , 2019 , - =ont~cted STPSO and
        requested STPSO ' s investigative file on ROGERS , but was unsuccessful .                                                                               STPSO
        stated the investigative file was not ready yet .                                                        Nor~ally                        received
        the investigative file quickly after an arrest was made .                                                                              said he had
        received murder case files more quickly . The fact STPSO had not submitted
        the investigat i ve file to LAGO was " completely atypical ."

          -       stated the arrest appeared to be politically motivated due to the
        upcoming election in St . Tammany Parish for the posit i on of St . Tammany
        Sheriff . ~       elieved STPSO would submit the investigative file after the
        election for St . Tammany Sheriff was complete .

          -      later emailed the writer with all the information -       had
        received to date from STPSO , which entailed ROGERS ' booking paperwork , the


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   Investigationon      11/0 1 /20 1 9       at   New Orleans , Louisiana , United States (Phone)

   File #   2 8 2B - NO- 3 1 79991                                                                                              Date drafted    11 / 0 4 / 2 0 1 9

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               The email sent   by -
          affidavit for ROGERS ' arrest warrant , and the arrest warrant for ROGERS.

                                         along with the writer ' s notes , were made a part
          of the investigative file via lA .




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                                                                                                                          Date of entry        11 /18/ 2 0 19



             Jerry Rogers (ROGERS ) , date of birth (DOB) November 3 , 1972 , LA DL#
       0055317 3 0 , cell phone 985-789-7 2 39 , home address 82096 Highway 1080 , Folsom,
       LA 70437 , was interviewed at 410 N. Jefferson , Covington, LA 70433.                                                                           Also
       present was Department of Justice Civil Rights Division Trial Attorney
                                  , and ROGERS ' attorneys                        and -
                                 being advised of the identities of the interviewing Agents and
       the nature of the interview , ROGERS provided the following information :

             In 1998 ROGERS was employed as a deputy with the St . Tammany Parish
       Sheriff ' s Office (STPSO) .                            In 2009 , ROGERS was hired as an investigator with
       the United States Department of Housing and Urban Development (HUD).

             Nanette Krentel (KRENTEL) was murdered in July of 2017 in St . Tammany
       Parish .          ROGERS explained he sent emails to KRENTEL ' s sister ,
      -                    The emails were critical of STPSO' s investigation of the KRENTEL
       murder .          ROGERS sent the email in an attempt to help the family by providing
       insights to _ , who was a prosecuting attorney in Nebraska .                                                                           ROGERS felt
       s omething was " not right " with STPSO ' s investigation .                                                       STPSO made numerous
       missteps in the investigation . -                                                communicated to ROGERS that some of
       the information he provided was new and/or helpful to -                                                                              ROGERS never
       received any indication from -                                            she wanted him to stop sending emails .

             There was no " bad blood " between ROGERS and anyone at STPS O, nor did he
       have an " axe to grind " with STPSO .                                     The emails sent to -                                     were only
       motivated by his desire to help -                                                gain closure .

             ROGERS learned about the KRENTEL investigation via the news media, social
       media , and through discussion with his friends and former co-workers to
                                                                       ,                     , _ , and . . .
                                                                       discuss the emails he sent to - with any
       of his friends or associates .


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  lnvestigationon      11/04/2019          at   Covington , Louisiana , United States                                (In Person)

  File #   2828 - N0- 3 1 79991                                                                                              Date drafted    11/06/20 1 9

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               ROGERS believed he sent the first email in December of 2017 , and received
        -            first response in January of 2018 . ROGERS was asked why the emails
            contained information about spousal abuse . ROGERS just wanted to send
            information that was out in the community that could be of use to -
            such as the fact                          who had been involved in the KRENTEL
            investigation at one point , had been involved in a domestic abuse incident .
            Additionally , STPSO was not communicating with KRENTEL ' s family , which
            ROGERS felt was " wrong ."

               No one employed inside STPSO leaked information about the KRENTEL
            investigation to ROGERS .        ROGERS obtained his information from the news
            media and social media along with information he heard from his friends and
            associates .

               While employed at STPSO , ROGERS worked and became friends with -
                                                  was experienced and successful with
            financial investigations .        ROGERS continued to                                            as a HUD
            investigator when their cases were connected .
            case specific information about the KRENTEL investigation to ROGERS , as
                           wasn ' t originally assigned to the KRENTEL investigation .                        ROGERS
                               the first email prior to             being assigned to the case .

               ROGERS talked with STPSO                                                           about the use
            of the polygraph to question suspects early in the KRENTEL investigation .
            ROGERS felt a polygraph should only be used at the end of an investigation
            as a '' last resort " after all evidence was analyzed and all leads were
            exhausted .    -          who was friends with ROGERS , said , " I just do what I ' m
            told ," and claimed to be " out of the loop " of the details of the KRENTEL
            investigation . ROGERS didn ' t recall from whom he learned the polygraph had
            been employed for the investigation .         ROGERS sensed -               was frustrated
            with how the KRENTEL investigation was being conducted . ROGERS never sensed
                       was frustrated with the KRENTEL investigation because
            had not been on the case very long .




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         promoted .      ROGERS confirmed                    information .

               ROGERS explained the emails he sent to                      contained statements
         critical of -               due to public statements              made wherein KRENTEL ' s
         husband was cleared of any involvement in KRENTEL ' s murder ; along with the
         lack of communication between STPSO and KRENTEL ' s family .

            ROGERS had known -       for many years .   ROGERS knew -     when -                           was
         a Lieutenant (LT . ) at STPSO and later when -       was the Chief of the
         Slidell Police Department (SPD) .              After being hired as a HUD agent , ROGERS
         attended a SPD officer ' s funeral . When -      saw ROGERS , -    patted
         ROGERS down for a " wire " due to ROGERS ' employment with the federal
         government .       ROGERS thought -               behavior was inappropriate .         -        had
         not bothered ROGERS on any of his HUD cases .

              When ROGERS was hired at HUD , he left STPSO on good terms with STPSO and
         with no " write - ups ."        ROGERS worked under -            when
         was Sheriff of St . Tammany Parish .              ROGERS was close with               and
         considered -     a mentor . When -     became Sheriff , -                        left STPSO and
         became the Chief of the Covington Police Department .

              After leaving STPSO , ROGERS worked with -                   to create a law enforcement
         memorial in Covington .            The idea had been proposed to -              who passed on
         the project .       ROGERS worked with -             to successfully create the memorial .
         ROGERS believed - - - ooked bad within the community for passing on the
         idea of the memorial .            Based on the work he did on the memorial , ROGERS
         believed the community , and those within law enforcement , knew ROGERS was
         close to -

              ROGERS was asked about his criticisms of STPSO
        -                 ROGERS admitted he called -                   " clueless " in an email to
        - · ROGERS heard -                            own colleagues characterize -       as
        " clueless ." ROGERS first met -                    when -       interviewed ROGERS about
         the emails sent to -        ROGERS knew of                      , but never
         worked with him . ROGERS did not know which Chief Deputy supervised the
         KRENTEL investigation or the investigation that led to ROGERS ' arrest .                         Of
         the three STPSO detectives that arrested ROGERS ,
                            and -       ROGERS only                       of
         asked , ROGERS said he never worked for or with                                                  had


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            very little interaction with                                                                  , and
            had never worked a case with                    did not know why -
            would have been the affiant for ROGERS ' arrest warrant .

               ROGERS was interviewed for approximately one(l) to one and a half (1 . 5)
            hours at his HUD office on August 13 , 2019 , by STPSO                 and
         -          The detectives had not pre-arranged the interview with ROGERS .
          The detectives rang the doorbell to the HUD office . ROGERS spoke to the
            detectives through the lobby glass .       The detectives told ROGERS multiple
            times they needed to speak to him[ROGERS] . ROGERS asked the detectives
            " what is this about " multiple times . The detectives told ROGERS , " you are
            merely a witness ." ROGERS said he didn ' t immediately let the detectives in
            the office or go into the lobby to speak with the detectives , because ROGERS
            was concerned the office conference room may have been occupied . The
            detectives waited in the lobby as ROGERS attempted to determine if the
            conference room was available and to use the bathroom .             ROGERS ultimately
            spoke with the detectives in the office lobby .

               ROGERS was told -      and -          investigation was an internal STPSO
            investigation into who leaked information to ROGERS concerning the KRENTEL
            investigation . ROGERS recalled the detectives read an excerpt of an email .
            Detectives told ROGERS STPSO had " all your emails ." ROGERS told the
           detectives no one at STPS O leaked any information to ROGERS . -      and
         -         claimed to have ROGERS ' phone records . The detectives also wanted
            to know what motivated ROGERS to send the emails to -            At one point in
            the interview , -      asked , " Is this recorded in here? " ROGERS did not
            recall what was being discussed specifically when -          asked about the
            room being recorded . ROGERS was uncomfortable with the fact             was a
            part of the interview , because ROGERS knew he had criticized            within
            an email to -        -        asked ROGERS , " why would you say that about
            me? " ROGERS believed the excerpt of ROGERS ' s emails read by the detective
            may have contained ROGERS ' comment about -         being clueless . The
            detectives told ROGERS the emails were unprofessional and unethical and made
            ROGERS look bad . The detectives mentioned the fact that ROGERS sent the
            emails using a HUD IP address.   ROGERS stated he never sent any emails to
        -          from a HUD computer , nor did ROGERS know how to connect his personal
            devices to the HUD office ' s Wi-Fi .



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               The meeting was interrupted at one point by a cleaning crew .                           ROGERS ' co -
            workers walked past the lobby window several times and could see ROGERS was
            talking to the detectives and later asked ROGERS what the detectives were
            doing at the office .       The co - workers could tell ROGERS had an unpleasant
            time with the detectives .         During the interview -                seemed upset .
        -               did not yell or raise his voice , but his tone indicated to ROGERS
            that he                 was upset .   During the interview , the detectives never
            mentioned their investigation concerned a possible obstruction of justice
            issue .     Nor , did the detectives ever mention that ROGERS' emails had any
            affect on the family .       The interview was abruptly ended by -                           and
         -              when detectives stated they were going to speak to

               Sometime after the interview , ROGERS spoke to                                                   a
            Mandeville Police Department police officer and former STPSO deputy . . . . .
            told ROGERS that he-               heard ROGERS was being investigated by STPSO and
            the investigation may lead to an obstruction of justice charge .                           ROGERS
            believed -         overheard a conversation and learned about STPSO's
            investigation into ROGERS .

               ROGERS used an anonymous email to communicate with -                                 Additionally ,
            ROGERS used a VPN at his house to prevent his emails from being traced .

               ROGERS was concerned when the detectives stated they had all of ROGERS '
            emails , as ROGERS had sent information to the FBI about potential criminal
            activity conducted by -               ROGERS was concerned that his brother , who
            worked at STPSO , would be retaliated against if -     knew ROGERS provided
            information to the FBI . ROGERS spoke with FBI Special Agents Horner and
            Voyles about a potential criminal matter concerning a St . Tammany Parish
            Jail contract dealing with the jail ' s commissary .           ROGERS believed the
            contract with the company that oversaw the jail ' s commissary was from a
            company that provided political donations to                       election campaign .
            ROGERS may have heard the information from                   prior to doing his own
            research with , friend and former STPSO colleague , -                           Prior to
        -                termination from STPSO , -          dealt with the jail's commissary .

               ROGERS heard numerous former and current STPSO employees were frustrated
            with -           running of STPSO .     ROGERS admitted he had an " axe to grind "
            with -         due to the way -         ran STPSO .    ROGERS wanted change to occur



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          and to call attention to -        conduct . ROGERS said of -      "At the end
          of the day , I think he is a bad guy ." ROGERS was not sure if those within
          STPSO knew of ROGERS ' opinions of -                but those within STPSO knew that
          ROGERS associated with -                and others that opposed -                      re-election .

              -           later contacted ROGERS via phone and text messages to set up a
          second interview .         ROGERS initially agreed to meet with -                             but later
          declined after retaining - · -             sent a letter apprising STPSO
          that -       represented ROGERS and that ROGERS did not wish to make any
          further statements to STPSO . -       was contacted by - .
          confirmed           suspicions that STPSO ' s investigation was no longer an
          internal investigation .         -           said STPSO was investigating a possible
          obstruction of justice.

                  When asked , ROGERS stated the detectives that arrested him said nothing
          unusual or unprofessional .            ROGERS thought it was odd three (3) detectives
          were sent to arrest him on a misdemeanor charge .                ROGERS thought it would
          have been more reasonable to issue ROGERS a summons for the misdemeanor
          charge of criminal defamation .            ROGERS thought -               appeared embarrassed
          to be involved in arresting ROGERS on a misdemeanor violation .                             ROGERS did
          not know , at the time of his arrest , he was being arrested on a misdemeanor
          charge .      ROGERS thought it was odd that three detectives unrelated to the
          case arrested him .

                             met with ROGERS after                      was fired from STPSO .
                              unsure why he was fired from STPSO if ROGERS told
          investigators                     never leaked information .                                         he was
          getting closer to " answering the murder question ."                                                 knew
          contradicted other STPSO detectives theories on the KRENTEL investigation .
                                       ROGERS an article concerning Louisiana ' s criminal
          defamation statute .




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                                                                         - 1 of 3 -                                                                    OFFICIAL R•COAD
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FD-302 (Rev 5-8-10)                                                                                                                                   ,,,, . . . . . ' - been v.119dby•
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                                                  FE DERAL BUREAU O F INVESTIGATION




                                                                                                                           Date of entry        11 / 2 0/ 2 019



                                                                                                                                                             cell
                                                                                  , was interviewed at the 22nd Judicial
       District Attorney ' s                     (DA) Office , 701 N. Columbia Street , Covington , LA
       70433 . Also present was Department of Justice Civil Rights Division Trial
       Attorney                                              After being advised of the identity of the
       interviewing Agent and the nature of the interview , -                                                                 provided the
       following information :

          On Friday , September 13 , 2019 , -                                           met with St . Tammany Parish Sheriff ' s
       Office (STPSO) employees


       dectives) in                                                                 reason f or the meeting , that lasted
       approximately 20 minutes , was to discuss whether the District Attorney ' s
           (DA ) office would support the use of Louisiana Statute 14 : 47-Criminal
       Defamation for arrest of Jerry Rogers (ROGERS) .                                                      ROGERS allegedly sent
       emails to the family of Nanette Krentel (KRENTEL) , critical of STPSO ' s
       investigation into the homicide of KRENTEL .                                                  According to STPSO detectives
       ROGERS ' emails undermined STPSO ' s ability to communicate with the family .
      -          told                              " This is very important to the Sheriff . He wants to
       move on this."                                 remarked that ROGERS was a " shitty detective ."

                The STPSO detectives provided -                                       with severa l documents from their
       investigation and stated a search warrant was used to obtain ROGERS '
       emails . -     was not provided a copy of the warrant . -    was told by the
       STPS O detectives the case originated from complaints made by KRENTEL ' s
       family .

            -          was not familiar with the statute and needed to do more research
       before he provided an answer to _ , . -            told the STPSO detectives
       he would answer them on Monday , September 16 , 2019 .



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   lnvestigationon    11/05/2019           at   Covington , Louisiana , United States (In Person)

  File #    282B - N0- 3179991                                                                                                Date drafted    11 / 12 / 2 0 1 9

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             At approximately 9 : 00 AM on September 16th, - - called -          and
          asked for an answer on the ROGERS matter . -      said he would meet with his
          team o f assistant district attorneys (ADA ) and have an answer for
          later .

            -     spoke with several ADAs and determined, based on previ ous court
          rulings, criminal defamation was likely unconstitutional. -      did not
          recall the exact time he spoke with           on the phone later that
          morning, but believed he called                   with his -         cell phone . -
          believed the phone call to                   occurred between 10 : 30 AM and 11 : 30
          AM _ During the phone conversation ,        told -        the criminal
          defamation statute was likely unconstitutional . -      told            " This
          in unconstitutional and you can ' t do this ." It was unknown if anyone was
           present with              at the time of the conversation. -      also told
         -             that STPSO detectives had probably not even met the elements of
           the defamation statute .              disagreed with -     interpretation of the
           statute . -      als o told                            planned to recuse
           themselves due to ROGERS '                                  , being employed at
           the DA 's office .

             -    did not recall if he t old                    the statutes was
          unconstitutional first , or if he told -                  the DA ' s office would recuse
          themselves first .

                       made no indication that STPSO detectives still intended to
          arrest ROGERS.

             During a phone conversation later in the afternoon with
                    told -     " If you were going to recuse yourself , I wish you would
          keep your opinions to yourself ."

                         later learned of ROGERS ' arrest fr om employees in the DA's office .
                                   obtained a copy of ROGERS arrest warrant signed by -
                                               and the affidavit for the arrest warrants
                                            said -         was " notoriously lazy . "

             -    believe© STPSO should have anticipated the DA's office would recuse
          themselves . During the investigation , STPSO complained to the DA ' s office
          that -        would not cooperate with their investigators . STPSO attempted


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                                                                ---


            to interview -       sometime prior to ROGERS ' arrest . -        was the
            STPSO detective that told -    of -         refusal to be interviewed by
            STPSO .

                 At an unrelated meeting several days later , -              commented on ROGERS
            arrest to -              -          responded by saying , " It wasn't my decision on
            the timing . "

               According to -      after STPSO detective
            was fired , everyone at STPSO thought
            decision .

               Per standard operating procedures , - requested STPSO ' s file on
            internal investigation that led to the firing of               The DA ' s
            office needed the file to determine if                         testify in the
            future on cases that had not yet gone to court . Multiple requests were
            made , but to date -    office had not received the file from STPSO . STPSO
                                   who oversaw STPSO Internal Affairs only provided a
                                    firing in an email , a copy of which was provided to
            SA

                 Prior to SA Epperson and Johnson leaving the building after the
            interview, -provided SA Epperson with a copy of -                      work cell bill
            which documented incoming and outgoing calls . ~                      ighted
            phone number

                 SA Epperson ' s original interview notes , a copy of the email from -  and
        -           cell phone bill were made a part of the investigative file via lA .




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                                                   FE DERAL BUREAU OF INVESTI GATION



                                                                                                                           Date of entry        11/20/2019



                                                                                                                                                 cell phone
                                                                                         was interviewed at the 22nd Judicial
        District Attorney ' s Office , 701 N. Columbia Street , Covington , LA 70433 .
       Also present was Department of Justice Civil Rights Division Trial Attorney
                                          After being advised of the identity of the interviewing
       Agent and the nature of the interview , -                                                       provided the following
       information :

                                                                      similar information as his first interview .
                                                                      to file a judiciary complaint against -
                                                                      due to the fact           signed the warrant
        for the arrest of Jerry Rogers for violating Louisiana State Statute 14 : 47 -
       Criminal Defamation .                         The statute was found to be unconstitutional by the
       United States Supreme Court and the Louisiana Supreme Court in some of the
       statute ' s previous applications .                                  -                believed                                  as a judge ,
       should have been familiar with the previous courts ' rulings .

              SA Epperson ' s original notes from the interview were made a part of the
       investigative file via lA .




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   lnvestigationon     11/05/2019           at   Covington , Louisiana , United States (In Person)

  File #   282B - N0 - 3179991                                                                                                Date drafted    11/12/2019

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                                                                                                                            Date of entry        11/20/2019




                                                                                   date of birth (DOB)
                                                                                             at
                                                                           . Also present was Department of Justice
       Civil Rights Division Trial Attorney                                                                              After being advised of
       the identity of the interviewing Agent and the nature of the interview ,
                              provided the following information :

                                    was hired by the St . Tammany Parish Sheriff ' s Office (S TPSO)
       in July o f 200 7 after he worked for the Covington Police Department (CPD)
       from 1995 until 2007 .                                                 specialized in cases that concerned bank
       fraud and embezzlement and was a member o f multiple federal task forces that
       included the United States Secret Service (USSS) and Department of Homeland
       Security .                                    worked with Jerry Rogers                              (ROGERS) at STPSO until
       ROGERS was hired by the United States Department of Housing and Urban
       Development (HUD) .

             When asked about ROGERS ' relationship with STPSO ,
       had a contentious relationship with former sheriff
       administration .                   ROGERS ' relationship was contentious due to a matter ROGERS
       was told to investigate by high level supervisors within STPSO .                                                                         ROGERS
       belived the matter was a civil matter and did not need to be investigated
       criminally , which caused tension in ROGERS relationship with -
       administration .            was later told to investigate the same matter
       and , like ROGERS , determined the matter was a civil situation .                                                                      ROGERS
       disliked -                       and supported                                                           when -                 ran for
       sheriff .

                                    tried to stay out of the politics of the sheriff ' s elections.
                                      elected Sheriff ,                                                   promoted to Sergeant (SGT . )
       and supervised a six (6) person                                                                            highest rank at STPSO was
       SGT .

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  Investigationon     11/05/2019            at   Covington , Louisiana , United States                                 (In Person)

  File #   282B - NO - 3179991                                                                                                 Date drafted    11 / 0 7 / 2 0 1 9

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                STPS O investigated the death of Nanette Krentel                                              The KRENTEL
            investigation was                             lead by
                                               and ,
                                                         to run all other investigations within the Major
            Crimes section while the KRENTEL investigation occurred .                             The first STPSO
            investigators believed KRENTEL committed suicide , while the coroner found
            KRENTEL ' s death was a homicide.

                                  was assigned to the KRENTEL investigation approximately a year
            and a half after KRENTEL ' s death .                               was brought in to provide a
            new perspective and to specifically look at the financial records of
            KRENTEL ' s husband , who was initially cleared of any involvement in KRENTEL's
            death by STPSO .          -        and -          were taken off the case and reassigned to
            Internal                                   was promoted to LT . and supervised the
            investigation ;                                                    was assigned to the case , and
        -           remained on                                                             to the investigation
            but reported directly to                                                                          did not
                                                                               , was comprised of -
                                                              Former United States Marshall                                   also
            worked on the investigation .                           communicated directly with -                        for
            matters related to the investigation even though                                        was
            supervisor .                           believed -            lanned to have -           and
            leave STPSO after the 2019 elections .

                                  understood the " whole case has been a disaster " for the first
            year and a half and a l was not happy with the investigation ' s progress.
                                                                              meeting with-      and -
                                                                                 learned investigative
                                                                                                                   retired
            before he was fired , after
            family .     -                told KRENTEL ' s family that , -                  was in over his
            head . "

                                  started on the investigation and identified investigative
            steps that needed to be done .                                 asked to see                          reports to
            learn what had been done and what had not been done .                                                             was
            no written report .            -             did have a notebook with his case notes .
                             found it unusual that -                      had not at least started a report


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          for an investigation that was more than a year old , although there was not
          policy that required                         o write a report .

                Initially investigators thought it was possible a hitman was paid to kill
          KRENTEL .       Investigators analyzed records and looked for movement of money in
          accounts and hidden insurance policies .                The original investigators
          overlooked a gas station receipt that                               thought was suspicious and
          relevant .           questioned why the original investigators did not
          follow up on the receipt .

                                  checked out every piece of evidence to start over and ensure
          everything was accurate .                           found several obvious steps had not
          been initially completely.               Three boxes of evidence were " never looked at ."
                           said , " they never searched emails of phones ."
          reviewed the evidence and found some of the evidence had not been
          processed .                        ound a cell phone in evidence that appeared to have
          a bullet hole through the phone that hadn ' t been properly processed .
                           questioned                  about the phone and -                  indicated he
          forgot about the phone .                      and                 iscussed the phone , but
                     was not sure if -     was aware of the issue . The Federal Bureau
          of Investigation (FBI) and the Bureau of Alcohol , Tobacco , Firearms and
          Explosives (ATF)            assisted STPSO by processing some of the evidence .                          The
          fact                      started looking at the investigation from its inception
          caused tension with the original investigators .

                Early in the investigation KRENTEL ' s husband ,                                                      was
          interviewed .       -         told investigators that he believed his brother ki l led
          KRENTEL. ~         ed his theory on the fact that a Rolex watch , which -
          and his brother considered a family heirloom , was not found at the crime
          scene . -               believed his brother killed KRENTEL and took the Rolex watch .
          Investigators agreed that no Rolex watch was found at the scene .
          later found a Rolex watch band in one o f the three boxes of evidence that
          was " never looked at ."

                There was a meeting in January of 2019 , where the new team of
          investigators met to discuss the case . The meeting was tense because new
          investigators openly questioned the wo rk o f the original investigators
          during the meeting .



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               On August 14th , 2019 ,                       was told to meet with
                                about the KRENTEL investigation intially and then asked how
                         knew ROGERS .                       explained ROGERS was a friend , former
          co-worker , and they collaborated on cases when necessary .                                              asked
                             had talked to ROGERS about the KRENTEL investigation .
                                                                   then " flew off the handle " and
          chewed "my ass out ."                                                   was " pissed ."
                     said he had probably talked to ROGERS about the case on a
          professional level.             felt it was his job to network with other
          investigators within law enforcement to get ideas and opinions if he thought
          their input could be helpful to solving a case .                                      who had been cut
          out of the investigation , stated he was upset that the original
          investigators were replaced with new investigators who then leaked
          information on the case .

                                                      that ROGERS had sent emails to KRENTEL ' s family
                                               was running for Sheriff against -
                                           ROGERS ' emails were sent from a HUD IP address .
                        claimed ROGERS told STPSO investigators that                                        passed
          specific case information to ROGERS which ROGERS then sent to a family
          member of KRENTEL .                          c laimed ROGERS emails were obtained "the right
          way ," with a search warrant , but it took investigators a while to get the
          emails opened .              sked specifically what information was given to
          ROGERS , because                       could not recall exactly what he and ROGERS
          discussed about the case .

                           said only five         (5) people within STPSO were aware of the
          investigation into the leaked information .                               said -                was aware
          of the emails sent by ROGERS . -     told                               to handle the
          situation . During the one (1) hour meeting ,
                       account of his                                                                                "We
          all need to get in the same room and talk about this ."                                                assumed
          that meant all the investigators would get together to discuss the issue .
                      never mentioned detective -       during the meeting , but did say
          the • detectives on the Major Crimes squad were " pissed " by the situation .
                     said , "We ' re not done with Jerry " and that investigators would
          " see what HUD thinks about this ."                was unaware there was a
          current "leak investigation " and                                          under


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          investigation for obstruction of justice .                                   stated ROGERS wasn ' t
          aligned polically with -     and his re-election campaign .                                                       asked
          to see the emails ROGERS sent .           did not show
          emails , but said the leaks were '' nothing too bad ."                      At the end of the
          meeting -                    was not as upset and gave                          a hug .



          investigation once or twice .               The conversations were not specifically about
          evidence in the case , but were centered around the difficulties of " getting
          things done ."

               On August 15th ,                      called                 and asked , " have you talked
          to Jerry Rogers? "                          said he had not spoken to ROGERS .
          said , " we ' ve had a little development ."               The conversation ended and
                          felt                   call was a bad sign .

               At approximately 5 : 00                                             they needed to meet along
          with                                When                                                    he said he
          hoped this meeting would go better than yesterday ' s meeting .                                                appeared
          unaware                       had met with                  the day before .
          the issues of leaked information to ROGERS and placed
          administrative leave .                             was made to turn in his gun , badge , work
          phone , and car .           Those in the                                      had a solemn demeanor
          and appeared to be in " disbelief ."                                                to turn over his
          personal phone and for consent to search the phone .                                              asked
          whether the investigation was criminal or internal .                                              was told
          internal investigations often turned into criminal investigations .                                        -
          last statement to                          was ,   " Don ' t worry about it .         Enjoy your
          vacation .      Let the investigation take place ."                                   had no sense he
          was in jeopardy of losing his job .

               On August 19th , -             called                        asked for the password for
                       personal phone .                                     -     about what the
          parameters of the search would                                   felt there was no specific
          policy limiting STPSO ' s search                                  personal phone .
          thought it would set a bad precedent for the agency if they dumped all of
                             data for an internal investigation .              -             said he would have
                                               back with an answer .



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            Later on the same day , -       called
         his concerns pertaining to the scope of the phone
         STPSO decided to get a warrant to search
         asked if the investigation was now a criminal investigation .
         confirmed there was a criminal inve stigation into the obstruction of
          justice .    -            said the " emails caused the family to be less trusting
         and forthcoming with information that would help solve the case ." -
         did not say who was being investigated but                           assumed ROGERS and
                            were the targets of the investigation .
         try to resolve the investigation quickly .
         phone ' s password . -       later called
         iTunes encryption password .              said he created
         ago and could not recall the password .           Based on
         iTunes encryption password ,
         scope of the phone search , and                                                                     phone
         using Cellebrite .

               A day or two later ,
                           was a previous STPSO employee
                                   for the position of St . Tammany Sheriff .
                                     was okay .              explained he could not talk about
         the issue .

               On the same day ,                  saw a Facebook post by                                         In
                               reported a deputy was under investigation .
                               asked what information had been leaked about
         put on administrative leave .                     had heard ROGERS sent information
         a KRENTEL family member and that ROGERS had " held himself up in a hotel
                                   said a SWAT team had to get ROGERS out of the hotel room .
                                    know which hotel or the location .

               On August 22nd , with his attorney                     present ,                            was
         interviewed by                and            for approximately one (1 ) to one and a
         half (1 . 5) hours about leaked information .                          was read his Miranda
         rights . -      and                                    investigation concerned
         obstruction of justice.                      was asked about his relationship with
         ROGERS ; what experience he had in homicide investigations ; and what
         information                    gave to ROGERS .                 explained he had only


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         communicated with ROGERS on a professi o nal basis concerning the KRENTEL
         investigation , as he would on any financial investigation .                                             did
         not recall exactly what he talked with ROGERS about because                                              had
         talked to so many detectives and law enfo rcement officials about the case .
         At one point ,                     provided a case briefing to approximately 50 law
         enforcement and government officials wh o were stakeholders in the
         investigations .                                    included detailed information about
         the case .    According                    and            ROGERS admitted that the emails
         he [ROGERS] sent contained information received from
         refused to let                            any of ROGERS ' emails ; to date                                had
         not seen                        and -        contended that ROGERS did not
         have any investigative knowledge or experience that could have helped
                                     and              wanted to know , specifically , what
         information                                 to ROGERS and whether the information
                       provided had been vetted .                       termination was referenced
                                                                               the seriousness of
         leaked
         provided the information to ROGERS so ROGERS would pass the information to
         KRENTEL's family .         The detectives seemed " pissed " ROGERS sent the emails and
         that                  provided that information to ROGERS .

                            felt he was being investigated partly because his loyalty to
                                            August 26th ,                sent                        a screenshot
                                           had previously written and sent to a neighbor in
                                                             was loyal to                                         was
                                                  had posted critical                                             his
         handling of the KRENTEL investigation o n social media .                                             message
         was a personal response to the neighbor in a private chat wherein he
         defended the KRENTEL investigation and                      handling of the
         investigation .

                                                  was contacted by Internal Affairs for an
         interview. When                                    was interviewed by                       and
                       felt being interviewed by • • •l and                    who were a part of the
         initial team of investigators on the KRENTEL investigation was a conflict of
         interest since • • • •!Ill had essentially replaced    and • • • •  A high
         level meeting would have to have taken place in order to determine who
         exactly interviewed                              was "an asshole " to


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          throughout the interview . -         was "more low key ." -   told
          that ROGERS was " stupid '' and did not have the expertise to add anything to
          the KRENTEL investigation .            again told -   and        that he
                       could not recall exactly what he discussed with ROGERS and was
          again not allowed to see the emails sent by ROGERS . -  and -      said
          that ROGERS believed           provided the information so ROGERS cou l d
          pass the information to the KREN TEL family .                                         offered to take a
          polygraph to support his story , but the offered wasn ' t acknowledged .

                                told -   and        about his communications with
                             explained he also had contact with -    concerning a cold case
          from the 1980s wherein -     was the STPSO deputy t hat responded to a scene
          where human remains were found . The interviewers specifically wanted to
          know about                                                with ROGERS in                               office
                                                                talked with ROGERS about an old STPSO case
          that was connected                       one of ROGERS current cases .                                 asked why
          ROGERS was a l lowed continued access to STPSO if he was under investigation
          by STPSO and why                                         told .

                On August                                    was called into the Internal Affairs office
          where -   and Human Resources                                           presented                              with a
          termination letter .

                On September 2nd ,                             found a laptop in his house that belonged to
          the USSS task force and arranged for it to be returned.                                 He checked the
          laptop to ensure no personal data was o n the laptop and found his work
          products from the KRENTEL investigation which jogged                                                     memory .
          He recalled the last time he talked to ROGERS they discussed a theory
          concerning the condition of KRENTEL ' s remains , and specifically the
          condition of KRENTEL ' s skull .         emailed -                                        and provided his
          best recollection of the last time he spoke with ROGERS .

                                   was later denied the opportunity to appeal his termination to
          an independent review board .                                     was also denied the opportunity to
          resign from STPSO .

                One (1) to two (2) weeks after              termination , ROGERS called
                                     declined to take ROGERS ' call . ROGERS later emailed
                           an attempt to learn what happened to               ROGERS later


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                                         a letter from ROGERS ' attorney
                                    to STPSO mentioned an internal investigation that was
           conducted .

                                and ROGERS met on September 16th , prior to ROGERS arrest by
           STPSO .        ROG ERS met                   at                 house and the two talked for
           approximately one (1) hour .                 During the conversation ROGERS said he sent
           emails to KRENTEL' s family and that he was interviewed by STPSO .                                   While
           being interviewed by STPSO ROGERS was told there was only an internal
           investigation being conducted and investigators mentioned                                                  and
          -         name .           was stunned to learn -       and -
           interviewed ROGERS due to their involvement in the KRENTEL investigation .
                      felt -      and           interview of ROGERS was a conflict of
           interest due ROGERS direct criticisms of -         work on the KRENT EL
           investigation . STPSO does not have a specific policy to determine if an
           investigator should be recused from a case .                                     said there were
           times when STPSO sent cases to the Louisiana State Police (LSP) .                                    For
           example , an STPSO captain was involved in a domestic abuse incident .                                      The
           STPSO sent the matter to LSP due to the nature of the incident and the
           perception of STPSO investigating their own employee .

                                theorized the emails sent by ROGERS was initially investigated
           as an internal matter, but investigators improperly used criminal
          investigative techniques , such as a search warrant for ROGERS emails , which
          were prohibited in an internal investigation . Once STPSO realized the
          problem , ROGERS was arrested to legitimize the search warrants that were
           improperly obtained .

                                explained he had been personally criticized in the past on
           social media while he worked on other investigations for STPSO .
           knew no one could be arrested for criticizing an investigation .

                 ROGERS ' arrest would not have taken place without ~         onsent . -
                             outspoken critic of STPSO , was arrested for cyber stalking .

                          described -        as a " pretty mellow " person . -      had
           " taken a pretty good beating " publicly .              thought it was possible
          ROGERS ' statements about -                        may have upset -



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                   Typically , the District Attorney ' s        (DA ) office did not discuss cases with
          investigators until the investigators submitted a case to be charged . If a
          matter was " high risk " or sensitive , the DA ' s office would discuss matters
          with the STPSO prior to a case submittal .                               had a good
          relationship within the DA ' s office and discussed " hypotheticals " with
          assistant district attorneys              (ADA) .    Some specific divisions within STPSO
          did have regular meeting with ADAs.                             never saw an instance where
          STPSO went against the DA office ' s opinion .

                   STPSO had two attorneys ; an internal attorney FNU
          and an external attorney                                                                     was mainly
          tasked with internal public records requests and was not typically involved
          in case related matters . -                     was involved in defending STPSO against
          civil litigation .

               -          was brought into the KRENTEL investigation as part of the second
          gr o up of investigators .                reached out to                   after he was
          terminated . -   and         never " jived ."           thought -                                     might be
          willing to speak with FBI Agents about her experience at STPSO .

                   When               worked at STPSO , presi releases were usually prepared in
          advance of the subject ' s arrest only if the issue was " high profile ."                                 Press
          releases were rare unless the issue was newsworthy . Press releases were more
          common during election season .

                   Typically a warrant was submitted to a judge electronically ; it was rare
          to physically take a warrant to a judge .                 There were times in a sensitive
          case when the supervisor requested the investigator " hand-walk " a warrant to
          a judge for the judge ' s signature .               The person who conducted the
          investigation was the person who signed the affidavits and forms prior to
          submission to the judge .

                                 later recalled that he and ROGERS met on o r abo ut August 6th
          at                                                                walked through the office
          during ROGERS ' and                           eeting .          ROGERS left , -                       asked why




      ·-
          ROGERS was                                    stated ROGERS was a political adversary to



                                stated his attorney was aware of                               interview with



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         the FBI.

                                described ROGERS as " goofy " and " kind of a clown " as well as a
         " conspiracy theorist ."                                     why ROGERS involved himself in
         the KRENTEL                                          felt that STPSO made a " laser strike"
         on ROGERS and                          was collateral damage .

                                                written statement he created, al o ng with various
                                           thought were relevant to the matter .

               SA Epperson ' s original interviews notes, along with the documents
                           provided , were made a part o f the investigative case file via lA.



          [AGENT ' S NOTE :                               basic inf o rmation , which were documented
         in SA Epperson ' s notes , concerning the structure and rank of STPSO
         management . ]




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                                                   FE DERAL BUREAU OF INVESTIGATION



                                                                                                                            Date of entry        11 / 2 0/ 2 0 19



                On November 14 , 2 019 , SA Epperson received a phone cal l from
       _           , cell phone                  a civil att o rney , who represented Jerry
        Ro gers ( ROGERS).                                                   cooperate with the FBI and make ROGERS
        available to Special Agents for future interviews .

            -             was sued by 10 former St . Tammany Parish Sheriff ' s Office                                                               (STPSO )
        deputies who were fired by -                                         for supporting                                  political rival ,
                                   in the previ o us sheriffs election .                                                                      had a
        hist o ry of violating individual ' s first amendment rights .                                                                        believed the
        o ng o ing civil law suit menti o ned ab o ve, c ase number 17-CV-05 2 19 , in the
        Eastern Distri c t o f Lo uisiana , against St . Tammany Parish
                                     was relevant to ROGERS ' arrest .




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   Investigationon      11/ 1 4/2019        at   New Orleans , Louisiana , United States                                   (Phone)

   File #   282B - N0- 3 1 79991                                                                                               Date drafted    11 /15 / 2 0 1 9

  ~     Clinton D. Epp erson
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                                                  FEDERAL BUREAU OF I NVESTIGATION




                                                                                                                          Date of entry        11 / 21 / 2019




          telephonically contacted Federal Bureau of Investigation (FBI) Special Agent
           (SA) Dewayne J . Horner and provided the following information :

              During the time period when                                                                                  administrative leave
          from the St. Tammany Parish Sheriff ' s Office ,                                                                   reached out to a
          mutual friend so that the friend could find out the employment status of



                                                                                                          and asked if -                                     could
          go                                                                                        and ask -     about the
          employment status of                                                                      friend went to -                              because
      -               and -               have a close relationship .

              I'.1 a text message , -    told -       that           situation with the
          St . Tammany Parish Sheriff ' s Off ice was political .    also told _      ,
          in a text message , that it was going to be worse for JERRY ROGERS , a Housing
          and Urban Development , Office of Inspector General Special Agent .

          The text mes.sage between -     and -       occurred sometime between
       August 19, 2019 , and the end of August 2019 .




   lnvestigation on   11/18/2019           at   New Orleans ,            Louisiana ,          United States              (Phone)

  File #    2 828 - NO - 3179991                                                                                             Date drafted    11/18/2019

  ~       Dewayne J . Horner

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                            FEDERAL BUREAU OF INVESTIGATION
                                           Electronic Communication




           Title:         (U) STPSO Organizational Chart                     Date :   12/04/2019


           CC : REED RONALD
                Clinton D. Epperson


           From:         NEW ORLEANS
                            NO-20
                            Contact:

          Approved By:

          Drafted By:

           Case ID#:         282B-NO-3179991     (U//FOUO) SENSITIVE INVESTIGATIVE MATTER




                                                 OFFICE ;
                                                 VICTIM - JERRY HAMILTON ROGERS/LOCATION - ST
                                                 TAMMANY PARISH ;
                                                 CONSPIRACY AGAINST RIGHTS



          Synopsis:  (U) To document St . Tammany Parish Sheriff ' s Office (STPSO)
          organizational chart based on informati on provided by

          Enclosure(s): Enclosed are the following items :
          1.  (U) STPSO Organizational Chart

          Details:

           (U//FOUO)                                 created a St . Tammany Parish Sheriff ' s
          Office (STPSO) organizational chart . The information included in the
          chart was provided by

           (U//FOUO) The organizational chart has been uploaded to the lA section of
          this case file .


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  Case 2:20-cv-00517-JTM-DMD Document 116-3 Filed 07/09/21 Page 46 of 90


                           UNCLASSIFIED/-
Title : (U) STPSO Organizational Chart
Re : 2828-N0-3179991 , 12/04/2019




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                                                                                                                            Date of entry        12 /09/ 2 0 1 9



                                                                                     of birth (DOB)                                                             cell
                                              was interviewed telephonically . -
        sent FBI Special Agent (SA) Clinton D. Epperson two emails o n November 22 ,
       20 1 9 . SA Epperson contacted -  to clarify the meaning of the emails .
       After being advised of the identity of the interviewing Agent and the nature
        of the interview, . provided the foll owi ng informati o n :

           The emails sent by -    contained a phot o graph of a print o ut that
        represented the search history of
                                                 esear c h of the constitutionality
       14 : 47-Criminal Defamati o n . - explained that the time of -           search
       was sho rtly before a telephone conversati o n he had with St . Tammany Parish
       Sheriff ' s Office (STPSO)

              Ac co rding to                                                                                      was arrested by STPSO for
                                                                                                                                     the sheriff ,"
       was an o utspoken critic
       vide o s of himself speaking
        STPS O worked very hard to investigate
       ultimately led to                                              arrest .                                that if STPSO worked as
       hard on all their other investigati o ns as they did to arrest
       there would be no crime in St . Tammany Parish .

              Th e emails -                      sent t o SA Eppers o n , al o ng with SA Eppers o n ' s notes were
       attached to the investigative file via lA .

           [AGENT'S NOTE : -                         emails appeared to be duplicate emails . ]




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   Investigationon      11/27/2019          at    New Orleans , Louisiana , United States (Phone)

  File #    2 82 B- NO- 3179991                                                                                                Date drafted    11/27/ 2 019

  ~     Clint o n D. Epperson
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                           FEDERAL BUREAU OF INVESTIGATION
                                              Electronic Communication




          Title:         (U) Event Timeline                                   Date:   12/09/2019


          CC: REED RONALD
                  Clinton D. Epperson


          From:         NEW ORLEANS
                           NO - 20
                           Contact:

          Approved By:


          Drafted By:


          Case ID#:         2828 - NO-3179991       (U//FOUO) SENSIT I VE INVESTIGATIVE MATTER




                                                   OFFICE ;
                                                   VICTIM-JERRY HAMILTON ROGERS/LOCATION-ST
                                                   TAMMANY PARISH ;
                                                   CONSPIRACY AGAINST RIGHTS



         Synopsis:          (U) To document event timeline

          Enclosure(s) : Enclosed are the following items :
          1.  (U) Event Timeline

         Details:

          (U/ /FOUO)                                   created an event timeline, which
         includes known events regarding captioned investigation as of 6 December
         2019 .

          (U//FOUO) The event timeline has been uploaded to the lA section of this
         case file.



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                               UNCLASSIFIED//FOUO
Title :  (U) Event Timeline
Re : 282B - NO - 3179991 , 12/09/2019



(U) This product completes a carry forward objective regarding visual
aids from fiscal year 2019 .




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                                                                                                                           Date of entry       12 /1 0 / 20 19



                                                                                                  , date of birth (DOB) -
       -             work phone number                                                        interviewed at The St . Tammany
           Parish Justice Center , 701 N. Columbia Street #3066 , Covington , LA 70433 .
           Also present was Department of Justice Civil Rights pivision Trial Attorney
                                      and
           After being advised of the identities of the interviewing Agents and the
           nature of the interview ,                                                        provided the following
           information :

           BACKGROUND

                                                graduated from Loyola Law School and first worked for an
           insurance company as a staff attorney for two (2) to three (3) years before
           going into private practice . In 1985                                                                     worked as an assistant
           district attorney (ADA) in the 22nd Judicial District Attorney ' s Office for
           two years where he prosecuted all misdemeanor and DWI cases .                                                                   In 1998 -
                            ran unopposed and won election to the Division A 22nd Judicial
           District Court (JDC) .

              Judges within the 2 2 nd JDC also presided in Washington Parish on
           rotation .        When assigned to Washington Parish , judges could spend two (2 ) to
           three (3) weeks out of the month presiding over felony cases and two (2) to
           three (3) days presiding over civil cases , depending on the docket .

              Attorneys and judges in Louisiana were required to complete 12 . 5 hours of
           continuing legal education each year , until the age of 65 .
           typically completed more than 20 hours each year through seminars he
           attended .                                          selected courses he believed were relevant for
           his position .

           DUTY JUDGE RESPONSIBILITIES


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   Jnvestigationon       12/02/2019        at   Covington , Louisiana , United States (I n Person)

  File #    282B - NO- 317 99 91                                                                                              Date drafted    12/03/20 1 9
  by       Clinton D. Ep person , Dewayne J . Horner
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               Judges within the 2 2nd JDC were placed on separate Duty Judge rotations
          serving one week for St . Tammany Parish and one week for                           Washington Parish ,
          which totaled approximately ten (10) weeks per year .                       At times the week as a
          Duty Judge for one parish could overlap with the Duty Judge responsibilities
          of the other parish .             In addition to daily responsibilities in court , the
          Duty Judge is responsible for signing search warrants and arrests warrants
          submitted by law enforcement agencies .                For the past five years , the
          majority of warrants were sent to the Duty Judge electronically .                                    For the
          last two years the electronic system used was CloudGavel .                            When a warrant
          was submitted by a law enforcement agency , the Duty Judge received
          notification on his/her electronic devices and was able to read and sign
          documents from his phone , office , or home .                 CloudGavel also provided
          templates which allowed for more uniformity in submissions .

                   The Duty Judge , in                            experience , received and signed on
          average 40-50 warrant submissions during a week as the Duty Judge .                                       The
         majority of search warrants submitted were drug related , computer related ,
          and more recently phone related .                The warrants were typically straight
          forward and did not contain complex questions of constitutionality.

               When                              was the Duty Judge , he read and signed the warrants
          himself without need of assistance from his staff attorney
                          did not need help with warrants submitted through CloudGavel
          because the warrants were straight forward and fact specific .                                  He only
          needed to determine if probable cause existed within the ''four corners" of
          the document .                                did not sign warrants that lacked the
          necessary information or had significant mistakes.                        Those warrants were
          returned through Cloudgavel unsigned.                 The Duty Judge was able to message ,
         through CloudGavel , the person that submitted the warrants ;
         did not typically use that feature .                 There were law enforcement agencies
         within the 22nd Judicial District without access to CloudGavel .                                   The
         officers from those agencies~ or road deputies who did not have CloudGavel
         accounts , walked the warrants to the Duty Judge for review and signature ,
         but that did not occur often . - =stimated he returned less
         than 5 % of the submitted warrants for revisions or additional information .
                                  did not sign warrants submitted to him when he was not the
          Duty Judge .        Judges in the 22nd JDC did not sign warrants for a specific
         case .         Long term cases may have search warrants or arrest warrants signed by


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          numerous judges .

                                      estimated that a simple three page arrest warrant took
          only one minute to read and sign .            If                      received multiple
          warrants for the same case , he could skim subsequent submissions because
          most of the fact were consistent through the separate documents .

                                      was asked about the use of law clerks in the 22nd JDC .
          There were criminal clerks and civil clerks within the 22nd JDC , but those
          clerks did not work directly for judges .            If a judge needed research done
          for a matter , the staff attorneys would complete that research . The clerks
          within the 22nd JDC worked for the elected Clerk of Court .

                                      knew Washington
          attended high school together .                                                                    same
          social events as St .                                                                   , but did not
          have a close relationship with

          JERRY ROGERS ARREST WARRANT

               On September 16 , 2019 ,                        was covering the Duty Judge
          position for another judge .            He was in his chambers , during a civil trial,
          when he received an affidavit and arrest warrant for the arrest of Jerry
          Rogers (ROGERS)           He did not recall which deputy sent the affidavit through
          Cl o udGavel .                          surmised the affidavit and warrant were
          connected to the          investigation of the 2017 murder of Nanette Krentel .
                                 was " shocked " when he saw the arrest warrant for ROGERS was
          for violating Louisiana Statute 14 : 47-Criminal Defamation .
          had never seen anyone charged for Criminal Defamation before .                          Initially
                                 thought it was possible the statute was previously found
          unconstitutional .          He looked in the 2019 version of " We$t ' s Louisiana
          Statutory Criminal Law and Procedure " and found Criminal Defamation was
          present .                  elt the facts in the affidavit met the elements
          o f the statute and signed ROGERS ' arrest warrant .             ROGERS ' arrest warrant
          was the first Criminal Defamation warrant                                    signed .            When
          asked if he was told o f the warrant ahead of time by anyone ,
          answered , " Absolutely not. "                            did not recall how many
          warrants he needed to sign that day or whether the number of submissions
          were l ow or high .                said , regarding signing ROGERS ' arrest


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             warrant ,   " I wasn ' t trying to be on anyone ' s team " and " I was being
             o bjective ."                     did not discuss the ROGERS arrest warrant with
         -          or seek her input on the matter .

                After signing the arrest warrant                                  not reviewed the
             affidavit for ROGERS ' arrest .     Prior to the intervie w
             researched the Criminal Defamation statute and learned it was previously
             found unconstitutional .

                                     as asked if the Louisiana statute book contained any
             unconstitutional laws.                        believed there was a law pertaining
             t o sodomy that was f o und unconstitutional still in the Louisiana statute
          book .

                When asked ,                     stated if a law enforcement officer knew
          Criminal Defamation had been found unconstitutional the law enforcement
             o fficer should not submit affidavi ts o r seek a warrant f o r a person ' s
          arrest .       Additionally , if the law enforcement officer had information that a
             law was possibly unconstitutional , the law enforcement officer should make
          those questions or concerns known to the judge prior to the review of an
          affidavit and warrant .                           assumed law enforcement officers
             requested arrest warrants and search warrants in good faith and would bring
          attention to all known facts , to include if the law enforcement officer
          suspected a law was possibly unconstituti o nal .

                                    had heard of the " True Blue Drew Book ".
          did not know if the book covered the Criminal Defamation statute .                               Criminal
          Defamation was not covered in                             continued legal education
          c ourses .




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FD-302 (Rev. 5-8-10)                                                                                                                                   ,, aigMlurw ........ bNn vwtll9d by •
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                                                   FEDERAL BUREAU OF INVESTIGATION




                                                                                                                            Date of entry        12/10/2019




                                     date of birth (DOB)                    cell phone
                                                  FBI New Orleans office , 2901 Leon C.
           Simon Drive , New Orleans , LA 70122 . Also present was Department of Justice
           Civil Rights Division Trial Attorney                    After being advised of
           the identities of the interviewing Agents and the nature of the interview ,
       -          provided the following information :

             -          etired as a Lieutenant Colonel from the Louisiana State Police (LSP)
           after 32 years . In her last role with LSP , -    supervised LSP ' s
           investigations . She later served from 2010 - 2018 as the United States
           Marshal for the Eastern District of Louisiana . -     was recently hired by
           the United States Department of Health and Human Services for a position in
           Washington , DC.

              On October 18 , 2018 , -      was contacted by the St. Tammany Parish
           Sheriff ' s Off ice (S TPSO) and                                     . - was
           asked to work on cold cases , to include the deaths of two STPSO deputies .

                 On November 20 , 2018 , .                          was sworn in as an unpaid Reserve Deputy wi th
           STPSO . -             offered -     a paid position , but-   declined to be
           paid . ~             usly warned by a friend to avoid working on the murder
           investigation that involved a fire chief . -     was not familiar with the
           investigation to which the friend referred or the significance of the
           warning. After she was sworn in , -     met with the investigative team that
           investigated the 2017 murder of Nanette Krentel (NANETTE) .       had not
           initially realized NANETTE ' S




                                             Last Name Unknown (LNU) .                                               demeanor during
                                           feel unwelcome . -                          was told                   could not take

                                                                UNCLASSIFIED//FOUO

   tnvestigationon     12/03/2019           at   New Orleans ,            Louisiana ,          United States               (In Person)

  File#     282B - NO - 3179991                                                                                                Date drafted    12/03/2019

  by       Clinton D .       Epperson ,          Dewayne J . Horner

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                                                                 '-----



            investigative steps without -       being a part of those steps . Comments
            made in the first meeting indicated to -   she was only on the case because
            of                       The specifics of the Krentel investigation were not
            discussed , but issues surrounding the case were discussed .

              - .as later transferred to Internal Affairs within a month of -
            assignment to                                          stayed on the
            investigative team .                                                                 added to the
            investigation . •        learned                                                                   who
            was not on the investigative team , had been fired after he leaked case
            information , prior to -             assignment to the investigation .

               Throughout -      time on the investig ation , the investigative team
            repeatedly made statements about the investigation . Those statements
            included that                did not trust the investigative team , NANETTE ' S
            family was " crazy ", the investigative team was not allowed to conclude
            NANETTE ' s death was a suicide because of a " political game" , and the
            investigative team believed               was hiding something . -
            overheard-        on multiple occasions talk to potential witnesses in an
            unprofessional manner , telling the potential witnesses NANETTE ' S family was
            " crazy " and that NANETTE committed suicide , but the investigative team had
            to go through the motions of the investigation _

              -    found several issues with how the investigation was conducted . -
            never saw a report from -        even tho ugh he was the primary detective
            from the start of the investigation . Evidence in the case was not -properly
            secured and/or stored.        The investigative team believed NANETTER committed
            suicide because NANETTE was turning 50 years of age , she was l osing her
            looks , she had to color her hair every couple of weeks due to her vanity ,
            she was a drug addict , she had a husband that was unfaithful , and she took
            anti-depressants . The investigative team believed NANETTE killed herself to
            get back at -      -    thought their theory was offensive and unsupported .
        -        ontacted a chemist who stated the substances found in NANETTE ' S system
            was consistent with a person who took an anti-depressant , which contradicted
            one of the investigative team ' s theories .

                 Based on her involvement in the investigation and what she learned about
            NANETTE ' s death , -      believed -         had motives to kill NANETTE . -                        had



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                                                                  '--- - -



           an affair with another woman , he had large amounts of debt , and he suffered
           from mental health issues . -    reviewed the investigation and learned
           numerous guns and spent shell casing were found at the scene . A .38 caliber
           revolver was found , with three (3) corresponding shell casings on the floor,
           and three (3) casings in the cylinder . A shotgun and a spent shotgun shell
           was found . A semi - auto handgun and corresponding spent casings were
           found . -   asked                       to ensure the semi-auto handgunwas sent to the lab
           to be processed .                       contacted the lab and learned the lab could not
           process the gun .

            -          told - that                                    the
          investigation . According              during the recorded
          made comments that                owed              1111111
                                                        a favor and that



                                                                                                                  -
          would remember the                  said he spoke with         off camera about
          the matter ,                   not say exactly what
          suggested                had a romantic relationship with NANETTE , but the
          issue was                      hands . -  had also heard rumors that -
         ~        ad a romantic · relationship with NANETTE .          id not " touch the
          issue " despite -   asking five (5) or six (6) times about the topic .

             According to -                                                                     confronted
         ~                irectly                                                              a relationship
          with NANETTE .                                                                       never knew
          NANETTE .

                 asked -         to contact the insurance company that insured NANETTE .
                    had different excuses why he had not called the insurance company ,
          despite -     asking him several times to do it . When -       finally called
          the insurance company he learned the insurance pay out was paid to -       the
          day before -       called . • believed if                             called the insurance
          company when she asked , the pay out out to                                  been stopped .

            -        consistently failed                                          on a timely basis ,
          despite her repeated requests . -   and                       once argued in the office ,
          resulting in .   walking out of the office .

            -    was vocal with the investigative team that the theory NANETTE
          committed suicide was " bullshit ." The investigative team did not trust or
          like -   for her outspoken views . The only person -     trusted on the


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          investigative team was - - ~               her last months at STPSO, .did not go
          to the STPSO office without -              present .

                                             walked int o     the investigative team ' s office
          and saw                            dismantling      a semi-auto handgun found at the
                                             worked at a      gun shop and had experience with
                            was concerned because no one      took steps to document the
          process       took to dismantle the handgun . -    told -       someone
          needed to film or photograph -        process . Eventually some photographs
          of the process were taken . -     attempted to remove a bullet from the
          handgun and accidently broke the primer off of the bullet. - -ntervened
          to ensure none of the pieces of the handgun were accidently thrown away .
          After -        dismantled the handgun , - -mmediately contacted

                               at a Waffle House on February 25 , 2019 where she
          expressed her concerns with the investigati on and the fact she wanted to
          resign . -   explained her concerns with the manner -        and -
          handled the handgun that was recovered from the crime scene . •    suggested
          all the evidence needed to be properly secured .          said he was
         angered with the detectives for handling the evidence in that manner . -
         told -          that ~           an " idiot " and did not need to be on the
         investigation . - ~ to instruct                           to create a timeline
         of the case before he was transferred .               aid he would transfer
         -       off the investigation the next day . Ultimately , ~         as never
         removed from the investigation .                            was later brought
         in to lead the investigation .

               On April 11 , 2019    9net        with . . . and
                                               with




         told
         back her criticisms of                                            career
         ruined . Prior to her meeting
         other jobs and received job offers .            to resign because she was
         not being paid by STPSO and she was worried her reputation would suffer if


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                                                               ----


          she continued to work on the case .

             April 18 , 2019 was the last time ~   poke to           . -   did not
          recall what was said in the meeting. -    ultimately continued to organize
          the case file and continued to add information to the investigative file so
          future detectives would have better information .

            -    considered                                      , who joined the
          investigative team, one of the best investigators within STPSO . -       and
                     disagreed and " sparred " about the nature of NANETTE ' s death but
          their disagreements were respectful .             believed it was suicide
          while -   believed -                                     as helpful to -      _
          and completed financial analyses when requested by        In May or Ju~e , .
          received a text from -                 t old -  not to speak with
                      On August 15 , 2019 ,   received a text from -        that stated
                     was placed on administrative leave by STPSO .

             On September 4 , 2019 ,       told -    through a text message , that
                     was                      later called-     and explained
                     was terminated after he provided information to a federal agent ,
          later determined to be United States Department of Housing and Urban
          Development (HUD) Agent Jerry Rogers (ROGERS) , and that            said
          negative things about the investigation to ROGERS . -     who was in charge
          of the investigation , later called -    During the conversation , -
          indicated he was unaware of the investigation into leaked information that
                                  After -             s terminated , -      referred to
                     as a " dirty cop . " ~ a conversation in which -
          told .   that ROGERS was in a hotel room and wanted to commit suicide . - - .
          did not recall where the hotel was located , but recalled - -aughed
          about the situation . -         said he and other detectives were going to the
          hotel. -    believed the conversation may have been on ~ - -
          later said the arrest of ROGERS and the termination of -          were
          political due to the fact            and ROGERS were believed to be helping
                     who was running for Sheriff against

                On September 6 , 2019 , .          attended a meeting with
                            and -       9 :hought she was only
          In the meeting it was discussed that NANETTE ' s family received emails that



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             contained leaked information from the investigation .                    STPSO started an
             investigation into the leak of the information .                 The investigation found
                             showed                    photos and shared information with federal agent
                                          also made negative comments to ROGERS about the
             investigative team .                          specifically leaked the information for
             ROGERS to send it to NANETTE ' s family .               ROGERS was referred to as a '' dirty "
             federal agent .                              those in the room believed she had leaked
             information too .                            to let those in the room look at her text
             messages with                         -      was shown a picture and recognized ROGERS .
         -         believed she met ROGERS in passing during her time as US Marshal .                              It
             was also mentioned in the meeting that STPSO still considered arresting
                              -        did not recall if the potential arrest of ROGERS was
             mentioned in the meeting . -                 believed STPSO ' s investigation into the leak
             began by targeting her and ended with                               termination .

               -         was asked by Agents if NANETTE ' S family ' s confidence in STPSO was
             mentioned in the meeting . -                 said NANETTE ' s family lost confidence in
             STPSO ' s investigation long before the emails were leaked .                      STPSO had no
             relationship with NANETTE ' S family and refused to take the family ' s
             information seriously .            Members of the investigative team said horrible
             things about the family in front of other potential witnesses .

               -    did not recall hearing anyone on the investigative team speak of
             using Criminal Defamation in connection with the leaked information .
             Criminal Defamation was not a statute -   ever saw used . When -   learned
             ROGERS was arrested on a charge of Criminal Defamation she said it was a
             " chickenshit charge " and it " isn ' t even a real charge ."                 According to -
             the civil version of defamation did not work and Criminal Defamation " never
             works . "     She believed ROGERS ' arrest was retaliatory and STPSO tried to send
             a signal STPSO will " screw with you ." -  said STPSO should have gone
             through the Office of Inspector General if ROGERS did something to harm
             STPSO ' s case .

               -         was concerned for her safety after working on the Krentel
             investigation . -            said it was the first time in her life she slept with a
             gun beside her                   said she did not trust the STPSO detectives after
             she                                   termination ; -           attitude toward her and her
             ideas ;                      termination ; ROGERS ' arrest . -           felt STPSO and/or the


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                                                              ----


          detectives may have her arrested on false charges because she disagreed with
          their work on the Krentel investigation .

             On multiple occasions during the interview , .       said , -                           is
          clueless ", " he is an idiot " and " he is a rock ." -    believed she                     knew more
          about the Krentel investigation than -           · -    once asked -                            what
          apps were o n-         phone . llll3- sked because she wondered if any                     of the
          apps were spyware designed to surveil NANETTE ' S activity . -                              did not
          know what apps were on the phone . -           later removed the phone                     from
          evidence to cha:ge the phone so as to answe ~          uesti o n . - was
          shocked -          had not done the basic step of knowing what apps were on a
          suspect ' s phone . -        was controlled by his chain of command and did
          nothing on his own .

            -    offered her opinions as to why the Krentel investigati on was not
          successful . -    believed STPSO ' s investigative team might be " incompetent "
          or STPSO lacked the necessary " training and expertise ." -     believed STPSO
          lacked " professionalism and ethics ."    After            was fired -
          reminded the investigative team that               had outstanding subpoenas .
          The investigative team needed to know where the subpoenas were sent and what
          to expect back . -   felt , without the reminder , the investigative team
          would have failed to complete               unfinished work on the
          investigation . During her time on the investigation no one asked to see any
          reports from -

            -     who was in the process of moving to Washington , DC , had to leave the
          FBI New Orleans Office immediately after the interview . -    agreed to meet
          Agents at a later date to download the text messages between -     and STPSO
          personnel .

             SA Epperson ' s original notes from the interview were made a part of the
          investigative file via lA .




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FD-302 (Rev. 5-8-10)                                                                                                                                  AI . . . . . . MY9 bl«l ...... by•
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                                                  FEDERA L BUREAU OF I NVESTI GATION




                                                                                                                           Date of entry        12 /11/ 2019



                                                                                  date of birth (DOB)
                                                   telephonically after he asked
       writer , via text message , to contact him . After being advised of the
       identity of the interviewing Agent and the nature of the interview ,
                              provided the following information :

       MEETING WITH

                                                                                                                                   (STPSO) -
                                                                                                                                                                   5,




       to speak with

                                         and -                                                                                                               met
                                        for a breakfast
                                                                                                                                             termination

       said " This is all political ."                            Rogers (ROG ERS)
       obtained information about the Nanette Krentel (NANETTE)investigation for
                                                   " derail " the investigation and to use the information
                                                    in the 2019 sheriff ' s election .                                                                 felt
                      caught up in -       and ROGERS ' plan .
       that it was a difficult decision to terminate
       that                                                      provided information to ROGERS who was
       associated

                                                                                a message he sent to a neighbor in which
                                                                  defended the credibility of the Krentel
                                                               reviously sent a copy of that message to two


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  Investigationon      12/10/2019          at   New Orleans , Louisiana , United States (Phone)

  File #   282B - NO- 3179991                                                                                                 Date drafted    12 /10/2019
  ~    Clinton D. Epperson
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          STPSO supervisors involved in the investigation that led to
          termination.

                                                     that the information and investigation that
                                                 were flawed .              told -
                           same detectives that rushed to judgement in their determination
          that NANETTE committed suicide were the same detectives that determined
                            eaked information to ROGERS .

                           stated the investigati on into the leak of information began
          after one of NANETTE ' S sisters contacted STPSO
          and asked whether                            was leaving the investigation or
          attempting to find other employment .             STPSO surmised if NANETTE ' S sister
          asked questions of such a specific nature , someone within the investigation
          leaked information to the family .            One of the Krentel sisters asked STPSO to
          investigate the leaked information .

                Based on the                                         nderstanding of the
          investigation that led to                                                uninformed .

                                  offered to rescind                   termination letter , allow
                              resign , and to write a recommendation letter in order for
                              find another job .

                        was surprised -               id not mention an FBI
          investigation into ROGERS ' arrest and never asked            if he spoke to
          FBI agents .

          CRIMINAL DEFAMATION

                Writer                        if citizens requested Criminal Defamation to be
          enforced .            explained , when a citizen complained to STPSO about
          online postings in which negative comments were made about the citizen , the
          complaints were filed as either a telephone harassment or cyber stalking .
          Criminal Defamation was not a charge that was considered.

                                esearched the Criminal Defamation statute after inaccurate
          information was posted about an investigation he conducted .              He spoke with
          STPSO ' s                                                              the issue . -
                                                                                    ultimately told


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                            (U// FOUO) Telephonic I nte r v i e w of -
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                                         ~----------------
                                nothing could be done about the inaccurate information posted.

          STPSO PERSONNEL

                                  said STPSO                                    and
                                                   of STPSO after the 2019 sheriff ' s election .
          Internal Affairs Lieutenant                                    was promoted to Captain over
          Internal Affairs .

                                                 a National Academy graduate , possible cell phone
                                            might be " jilted " after he left STPSO. -                    was also
          questioned about his conversations with ROGERS.               hought -
          would have some understanding of the investigation and pro cess that led to
          ROGERS' arrest and              termination .

               -     supervised the major crimes unit as well as the persons crimes
          unit , the juvenile c rimes unit , and the pr operty crimes unit in the eastern
          p o rtion o f the parish .




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                           FEDERAL BUREAU OF INVESTIGATION
                                            Ele c tro nic Commu n ic atio n




          Title :       (U//FOUO) New Orleans Division Requests WFO           Date:   12/l7/2019
                        Collect Text Messages From


          CC: BERGER ANDREW


          From :        NEW ORLEANS
                           NO - 16
                           Contact:   Clinton D. Epperson , 504-816 - 3000

          Approved By:        A/SSA SA J . R . Smith

          Drafted By :        Clinton D. Epperson

          Case ID# : 282B-NO-3179991               (U//FOUO) SENSITIVE INVESTIGATIVE MATT ER




                                                   OFFICE ;
                                                   VICTIM-JERRY HAMILTON ROGERS/LOCATION - ST
                                                   TAMMANY PARISH ;
                                                   CONSPIRACY AGAINST RIGHTS



          Synopsis :  (U//FOUO) The New Orleans Division Civil Rights squad
          respectfully request the Washi n gton Field Office collect text messages
          pertinent to the captioned investigation from US Department of Health and




         Details :

               By way of background , on December 2 , 2019 , New Orleans Civil Rights
          Special Agents interviewed former United States Marshal for the Eastern
          District of Louisiana ,                            DOB                  in reference
                                                           was an unpaid Reserve Deputy
         assigned , between November of 2018 until November of 2019 , to St . Tammany

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                                    UNCLASSIFIED//FOUO
    Title :     (U//FOUO) New Orleans Division Requests WFO Collect Text Messages
    From -
    Re : ~                 l , 12/17/2019


    Parish Sheriff ' s Office ' s   (STPSO) investigation of the 2017 homicide of
    Nanette Krentel .     During the interview it was learned -      exchanged
    numerous text messages with detectives and investigators with whom she
    worked while assigned to the case . The Louisiana State Fire Marshal ' s
    Office , the Bureau of Alcohol , Tobacco , Firearms , and Explosives , and the
    St . Tammany Coroner ' s Office were also a part of the investigation .

      -        agreed to provide Agents access to her phone in order to download
    all of her text communications , as to capture her text history with
    investigators associated with the Krentel homicide investigation .

          The New Orleans Division respectfully requests Washington Field Office
    execute a consent to search of -          personal cell phone , related to -
-                to retrieve all text messages between-        and investigators
    involved in he Krentel investigation .        Please complete a corresponding
    FD - 941 regarding a consent to search . -        cell phone number -
-             recently began working for the United States Department of Health
    and Human Services in the Thomas P . O' Neil Building , 200 C . Street SW ,
    Washington , DC 20024 .




    ••




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                                                   FE DERAL BUREAU OF INVESTIGATION



                                                                                                                           Date of entry        12 /18/ 2 0 1 9



                                     date of birth (DOB)                   cell phone
                                          the Bureau of Alchol , Tobacco , Firearms and
        Explosives (ATF) office , 1 Galleria Blvd . #1700 , Metairie , LA 70001 . Also
        present was Department of Justice Civil Rights Division Trial Attorney
                         After being advised of the identities of the interviewing
        Agents and the nature of the interview , -         provided the following
        information :

          -         was a Senior Special Agent Certified Fire Investigator for the
        ATF . In the summer or fall of 2018 , _      received calls from
        investigators that worked on the Nanette Krentel (NANETTE) death
        investigation . -        received calls from State Fire Marshal
       -         an investigator from the St . Tammany ' s Coroner ' s Office , St .
       Tammany Parish Sheriff ' s Office (STPSO)
        and former United States Marshal for the
                  wh o provided outside help to STPSO on the investigation .
                     whom -       never spoke to , was an STPSO detective that worked
       on financial aspects of the investigation . -           was not aware of any
       detectives that were removed or added to the investigation .

                      et with . , who he had worked with previously , .     and
                     discuss the investigation . After -       was briefed he saw
        there were numerous leads and investigative steps that still needed to be
        completed . -         described the processing of the fire scene as a " shit
        sandwich ." If the ATF had processed the fire scene , it would have been
        completed in a thorough methodical manner , cataloguing every item at the
        scene . The investigators on the Krentel investigation went straight to
        NANETTE ' s body and did not methodically process the scene .

          -        heard rumors that STPSO initially believed NANETTE ' S death was a
        suicide and did not process the scene as thoroughly as they should have .

                                                                UNCLASSIFIED//FOUO

   lnvestigationon      1 2/02/2019         at   Metai r ie , Louisiana , United States (In Person )

   File #   2828 - N0 - 3179991                                                                                               Date drafted    12/03/2019

  by    Clinton D . Epperson , Dewayne J . Hor n er
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              The investigators were open minded to           critiques and suggestions .
            -         said there was no federal nexus identified in the Krentel
              investigation which prevented the ATF from further involvement . -        was
              never made aware sensitive information was leaked to NANETTE ' s family. Nor
              was STPSO                          mentioned by investigators .

              -         assisted the investigation informally by providing answers to
            questions from the investigators , by processing evidence , and by helping
            investigators gain access to additional resources .     When investigators
            considered using a " geo-fencing " technique, - provided the required
            verbiage for the search warrant . He was not sure if investigators
            ultimately used the technique . -         put the investigators in contact
            with a company that attempted to retrieve video data from a DVR found at the
            fir~ scene ; ultimately no data was recovered . ~         elped investigators
            gain access to the FBI's Behavioral Analysis Unit (BAU) in Quantico , VA ,
            where members of the ATF were detailed . He ensured the Jefferson Parish
            Sheriff's Of fice Crime Lab processed evidence through the National




                                                                                                      -
            Integrated Ballistics Information Network .                      search
            warrant on the phone of NANETTE's husband ,
            found the phone had been wiped of all data                          s ettings .


               The coroner ' s office investigator asked -        about specific substances
            found in NANETTE's lungs and whether those substances indicated NANETTE died
            before or after the fire was started . -         said the coroner's o ffice
            believed NANETTE ' S death resulted from a homicide .

                STPSO detectives and -              believed NANETTE ' s death was a suicide, while
        -         believed -        murdered NANETTE.

               -     asked ~            er review the Origin of Cause Report (OCR) when
            it was completed by -            -       agreed to review the OCR . He
            learned the scene tested positive for accellerants. -        told the
            investigators that he did not want to be briefed on the case if he was to
            review the OCR with an unbiased perspective . Ultimately, - was never
            provided the OCR .

              -        was invited to a January 2019 meeting wherein investigators , and
            other agencies involved with the investigation, presented case information.


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                   Case 2:20-cv-00517-JTM-DMD Document 116-3 Filed 07/09/21 Page 68 of 90
FD-302a (Rev. 5-8-10)


                                             UNCLASSIFIED//FOUO
            282B- NO-3179991
ContinuationofFD-302of (U// FOUO)   I nterview of            _ _ _ _ , On   12/02/2019   , Page   3 of   4




                                                told -       that St . Tammany
                                          rohibited presenters from discussing the
            investigator ' s theories that NAN ETTE committed suicide . -        thought
                                             discuss all plausible theories was unus u al .
                                         was concerned with the public ' s perception of the
            investigation if suicide was discussed and                        wanted the
            detectives f u ll efforts in the investigation .        There were approximately 30
            to 40 people present at the meeting .         After the meeting the ATF opened up a
            case on NANETTE ' s death .

              -          asked -        to interview -       ex-wife who lived in Texas .
        -               never conduct ed the interview due to the ATF ' s informal
            involvement . -       believe ~       sked _ ,to participate in the
            interview due to the out of state location of the interview and the
            perception of large federal travel budgets .

              -    supported the idea of the interview because -       looked at the
            investigation from a "victimology " perspective . ~           ecalled -               was
            interested in NANETTE ' S medications and BAU ' s involvement in the
            investigati ~                  had approximately six(6) to ten (10) conversations
            with .     -       lear~ed .   was dissatisfied with the investigation and
            she was looking for employment in Washingt o n , DC .

               In September of 2019 the ATF provided general fire investigations
            training to STPSO . The Krentel investigation was not mentioned as a
            motivating factor in the training provided by the ATF .

               -       never spoke with                       about the case . ~         ad no




        -
            information concerning                               had a relationship with



                  Although most of the investigators thought NANETTE committed suicide ,
                                              the most likely possible suspects in the
            event NAN ETTE was murdered .

               ATF Special Agent                    was           counterpart on the north
            shore . -           said                had information concerning the Krentel
            investigation .




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                 Case 2:20-cv-00517-JTM-DMD Document 116-3 Filed 07/09/21 Page 69 of 90
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                                                 UNCLASSIFIED//FOUO
          282B- NO-3179991
Continuation ofFD-302 of ( U/ I FOUO)   Interview of ·         ~ --   - - , On   12/02/2019   , Page   4 of 4



                SA Epperson ' s original notes from the interview were made a part of the
          investigative file via lA .




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                                                                         - 1 of 3 -                                                                   OFFICIAL R acoRo
FD-302 (Rev 5-8-10)                                                                                                                                   DocuMnl~~.,,.,...,..
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                                                     FE DERAL BUREAU OF INVESTIGATION



                                                                                                                           Date of entry        12 /1 8 / 2 0 1 9



                                                           date of birth (DOB)                                                             cell phone
                                                                      telephonically .                   After being advised of the
       identity of the interviewing Agent and the nature of the interview , -
       provided the following information :

           -          wished to provide additional information concerning her experience
       when she worked on the Nanette Krentel (NANNETE) investigation . -       who
       was an unpaid St . Tammany Parish Sheriff ' s Office (STPSO) Reserve Deputy ,
       worked on the investigation from November of 2018 until November of 2019 at
       STPSO .        -         initially worked 30 to 50 hours a week , approximately three (3)
       weeks each month from November until February of 2019 at STPSO ' s Slidell
       office .

                In February of
                                                                                                                                                                      100

                                                                                                            (3)


            - believed three ( 3 ) things contributed to the the investigation ' s lack
       of success : incompetence ; STPSO as an agency did not want the investigation
       solved ; the investigation was not important to STPSO .

               According to                                        did not possess the skill set or experience to
       conduct a murder investigation .                                     The Krentel investigation was more complex
       than the average murder investigation . -       did not make independent
       decisions on the investigation without asking his supervisors or without
       being told what to do by supervisors . -   believed it was possible
                 lack of experience and knowledge was a reason he was selected to
       conduct the investigation and a reason he was never removed from the
       investigation .  a iever saw            complete any work during her time on
       the investigation .                      -        learned                            id not work on the investigation


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  Investigationon     12/12/2019           at       Washington ,       District Of Columbia ,                     United States              (Phone)

  File #   282B - N0- 317999 1                                                                                                Da~draft~       12/12/20 1 9
           ----- - -------------------------- -
  ~    Clinton D .          E pp e r son

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                   Case 2:20-cv-00517-JTM-DMD Document 116-3 Filed 07/09/21 Page 71 of 90
FD-302a (Rev. 5-8-1 0)


                                                     UNCLASSIFIED//FOUO
          282B-NO-3179991
                              (U// FOUO) Tel e ph o ni c Inte r view of
Continuation of FD-302 of ,                                                       , On   1 2 /12 / 2 0 1 9   , Page   2 Of 3
                                              -----------------
          from sometime in the winter of 2017 until early in 2018 . -        was not at
          work due to a mental "melt down ," possibly due to the stress of the
          investigation .

                                                         , was a Fire Chief and a
          possible suspect .                            security video footage was
          obtained from the fire station where -         laimed to be at the time of
          NANETTE'S murder . -   learned video fo o tage from the camera that watched
          the backdoor of the fire station was not obtained , which illustrated -
          was not thorough . -  said the footage c o uld have confirmed if -       eft
          the fire station during NANETTE ' s murder , or if he stayed at the fire
          station. In either scenario the footage was vital to the investigation .
         -        and the other detectives repeatedly said they were not concerned
          with the case because the case would never be presented to a grand jury and
          it would never be solved .

              -   asked -         to obtain the GPS data for all of the fire department
          vehicles for the date of NANETTE ' S murder . -    believed the fire
           department ' s insurance company retained that information . -       chided
         -       idea and said the insurance company only retained that information for
           24 hours . • later learned from                 who formerly worked for the
           fire department , that the insurance company retained the GPS data for one
           (1) year .

                                                                          was a suspect in -                  opinion , as
                                                             -      was seen on security
           camera footage receiving text message , and phone records confirmed -         and
         -        communicated during the time frame . -       learned the time stamp on
           security footage that captured l a l l l a ctivity was not accurate , but
         -         did not reconcile the difference in time.

             -        said -        alibi , that he was at work at the restaurant
          Country Kitchen at the time of the murder , was confirmed . -    later
          c ontacted a person she knew at County Kitchen and learned it was not
          confirmed that -       was at work at the time of the murder .

             Recently a Crime Stoppers tip concerning -      was sent to STPSO . -
          learned STPSO detectives were attempting to determine the IP address of the
          tipster . -   believed, based on the arrest of HUD Agent Jerry Rogers , STPSO


                                                     UNCLASSIFIED//FOUO
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                                          UNCLASSIFIED//FOUO
          282B-NO-3179991
                   (U// FOUO) Telephonic Interview of
Continuation of FD-302 of                                         , On   12/12/2019   , Page   3 of 3
                                     ----------------
          detectives would attempt to intimidate the tipster .

              -  was present when a hairdresser ,                   , was interviewed
          by STPSO detectives . -    elt the detectives intimidated - .hich
          resulted in -            not providing all the information she had .
          interview was another reason -         thought detectives would intimidate the
          Crime Stoppers tipster .

              -             nd the other detectives on the investigative team were not
          opened minded to any of -     suggestions or ideas . The investigative team
          felt the investigation was a waste of their time because NANETTE committed
          suicide. The investigative team also believed the St . Tammany Parish
          Coroner only concluded NANETTE ' S death was a homicide to save his [the
          Coroner's] job. The investigative team believed the Coroner actually
          believed NANETTE comitted suicide , even after                                           who
          conducted the autopsy , said NANETTE ' S body smelled strongly of gasoline .
          Additionally ,             cited undigested food in NANETTE ' S stomach and the
          odd angle of a gunshot wound as additional evidence of a homicide .

             The supervisors of the investigative team were not involved in the
          investigation. No one on the investigative team or who supervised the
          investigative team ever asked to see any of the work -             completed during
        her year on the investigation . When -      rote her resignation letter on
        November 5th or 6th of 2019 to St . Tammany
        _ , she offered to speak with                     and provide her insight into
          the investigation.       To date , -   has not received any communication from




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                                                                          - 1 of 2 -                                                                   OFFIC IAL R•c oRD
FD-302 (Rev 5-8- 10)                                                                                                                                   ~~~~--­
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                                                   FEDERAL BUREAU OF INVESTIGATION



                                                                                                                            Date of entry        12 /18/ 2019



                                                                                   date of birth (DOB)
                                                                                              telephonically .                   Writer contacted
                                                                                                    made during a previous interview
        on December 10 , 2019 with writer .                                        After being advised of the identity of
        the interviewing Agent and the nature of the interview, -rovided
        the following information :

                                     was asked what St . Tammany Parish
                                     when he told                                         " This is
        explained the meeting started with the statement from
                              understood the statement to mean Jerry Rogers (ROGERS) was
        motivated by politics when he sent emails to Nanette Krentel ' s                                                                      (NAN ETTE)
        family criticizing the St . Tammany Parish Sheriff ' s Office ' s                                                               (STPSO)
        investigation of NANETTE ' s death .                                     ROGERS was motivated by his political
        association with                                                         when he allegedly obtained information
        specific to the investigation from ~                                                                    GERS and -     hoped the
        criticisms of the investigation wou ld ~sis ~                                                            in winning the election
        for St . Tammany Sheriff in November of 2019 .                                                  Politics also motivated the
        press in their coverage of ROGERS ' arrest .                                                                           said he and STPSO
        were " beat up " in the press over ROGERS ' arrest .

              Unprompted ,                                                       " I ' m not the victim of this despite what
        ROGERS thinks ."                                                                 clarify who the victim of the
                                                                                          explained NANETTE's sister , who was
        an attorney , requested STPSO investigate the leaked information contained in
        the emails she received from ROGERS .

                                                                                                                to sue y ' all ."
                                                                                                                  who was also present ,
        ROGERS would not be prosecuted for Criminal Defamation .
        not disagree with            ~hat ROGERS would sue STPSO.

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   Investigationon     12/12/2019           at   Covington , Louisiana , United States (Phone)

  Fi le #   2828 - NO- 3179991                                                                                                 Date drafted    12 / 1 3 / 2 01 9

  ~     Clinton D. Epperson
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         282B - NO - 3179991
                            (U// FOUO)   2n d Telephonic I n terview of
Continuation of FD-302 of                                                 , On   12 /12 / 2 0 1 9   , Page   2   0   f 2
                                                 --------------


         believed ROGERS would be prosecuted for Criminal Defamation .

                        pointed out to               and -        that ROGERS was
        arrested for his [ROGERS ' ] activities between the time frame late December
        o f 2017 and early December of 2018 .              to l d               and
        ., ~                   ermination paperwork documented                 violation
        of STPSO ' s rules and policy occurred between late 2018 and July of 2019 .
                    told -     and                 he              located a personal
         credit card receipt that documented a computer program he immediately
         purchased when he learned he was assigned to the Krentel investigation . The
         date of the receipt was December 26 , 2018 .             contended the dates
         on the documents proved              did not leak any information t o ROGERS
         that was used in emails to NANETTE ' S family .

              -    offered to expl o re options that would allow               to resign .
        -      said , "We ' 11 have t o figure out s omething to help you that won ' t
         expose us ."               understood -         statement to mean , -     wanted a
         solution that would protect STPSO in a civil suit .

            -     said                       who supervised criminal investigations ,
         would look into the matter and call              at a later date .
         planned to contact -      by December 16 , 2019 , if               id not hear
         from -                                      ·

                       was unsure if he would meet with                                        again , but
         agreed to contact writer in advance o f any future meeting .




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                                                                                    - 1 of 1 -
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                                                    FEDERAL BUREAU OF INVESTIGATION




                                                                                                                         Date of entry        12/30/2019



             On December 23 , 2019 , ,                                                           identifying information previously
       provided) , met with Special Agent (SA) Andrew Berger and Information
       Technology Specialist/ Forensic Examiner (ITS/ FE )                                                                                          a t the
       Federal Bureau of Investigation ' s                                             (FBI) Washington Field Office (WFO) ,
       located at 601 4th Street NW , Washington , D.C .

             SA Berger explained to -                                              t h at the FBI requested to search only text
       messages and related content , such as SMS , MMS , iMessages , iChats , and
       Contacts from her Apple iPhone . Specific search criteria were noted in the
       FD-26 Consent to Search .

             At approximately 9 : 05AM, .reviewed and signed the FD-26 Consent to
       Search and FD-597 Receipt for Property forms associated with her Apple
       iPhone X, telephone number                                                                serial number
       then provided the passcode to access the Apple iPhone .

          ITS/FE -       immediately took possession of the Apple iPhone ,
       conducted a logical extraction of the iPhone ' s contents and generated a
       limited report containing its contents pursuant to the FD-26 Consent to
       Search .

          At approximately 11 : 50AM , SA Berger met -  at 200 C Street SW ,
       Washington . D. C., and returned the Apple iPhone to her custody . •                                                                        s igned
       the FD - 597 Receipt for Property and was provided a copy .

            All forms signed by .                                               and a working copy of the digital extraction are
       attached hereto as a lA .




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                                                Washington D.C. , District Of Columbia , United States
                                                                                                    (In
  Investigationon      12/23/2019          at   Person)                     ___________________________
                                                ..;_;..,,;,_,:....:,_....:.,_                           _
  File#   282B-NO-3179991                                                                                                   Date drafted     12 / 2 3 / 2 0 1 9
  by   BERGER ANDREW

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                                  FEDERAL BUREAU OF INVESTIGATION
                                                                        Collected Item Log




            Event Titl.e :                  (U//FOUO) Consent Search of                                                           Date:          12/30/2019
                                                            Apple iPhone

            Approved By:                A/SSA NAGASHIMA JOHNY

            Drafted By :                BERGER ANDREW

            Case ID#:               282B - NO-3179991                        (U//FOUO) SENSITIVE INVESTIGATIVE MATTER




                                                                            OFFICE ;
                                                                            VICTIM-JERRY HAMILTON ROGERS/LOCATION - ST
                                                                            TAMMANY PARISH ;
                                                                            CONSPIRACY AGAINST RIGHTS



            Detail.s:

            A digital extraction of an Apple iPhone X belonging to
            serial number                                         , associated with telephone number
        -               subject to a limited consent search , conducted on 12/23/2019 .

            Col.l.ected From:                   (U/ /FOUO)
                                                United States

            Receipt Given? :                   Yes

            Holding Office:                    WASHINGTON FIELD

            Item Type                          Description
            lB Digital                         (U//FOUO) One                                         disc containing the partial
                                                                                                       Apple iPhone X, telephone


                                               Special Handling Codes : Breakable
                                               Seizing Individual :
                                               Located By :
                                               Location Area : 601 4th Street NW, Washington , D. C .
                                                                    UNCLASSIFIED//FOUO
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                             UNCLASSIFIED//FOUO
Title :  (U//FOUO) Consent Search of                    Apple iPhone
Re : 282B - NO - 3179991 , 12/30/2019




                   Specific Location : CART Room 3020
                   Device Type : Blu - Ray Disc
                   Designation : Original
                   Number of Devices Collected : 1




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                Case 2:20-cv-00517-JTM-DMD Document 116-3 Filed 07/09/21 Page 78 of 90

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                                                  FEDERAL BUREAU OF INVESTIG ATION



                                                                                                                          Date of entry       0 1 /06/ 2 0 2 0



        On December 23 , 2019 , Washington Field Office (WFO) Computer Analysis
          Response Team (CART)                    Information Technology Specialist/ Forensic Examiner
          ( ITS/FE)                                   was requested to provide assistance with the
        extraction of Chats including iMessages , SMS/MMS text messages and contacts
          from a witnesses iPhone . The consent search was conducted at the Washington
          Field Office located at 4th Street N. W., Washington , DC . Refer to CART
        Request Submission ID 223970 .

        The following item was forensically acquired using approved FBI CART SOP ' s
        and software writeblocking :

             • QWF_iPhoneX: Performed an advanced logical extraction of an Apple iPhone
               X using UFED Physical Analyzer . A report containing chats (including
               iMessages) , SMS/MMS text messages and contacts was generated . The phone
               is further described as : Apple iPhone X (model Al901) , IMEI :
                                                                                                                Phone Number : -


       Derivative Evidence:

       DEWF_iPhoneX: Two (2)                        BluRay discs                (one master copy for evidence and one
       working copy for the case agent) containing a report of all chats (including
       iMessages) , SMS/MMS text messages and contacts from QWF_iPhoneX .

       Disposition of Evidence :

       Both DEWF iPhoneX discs were provided to Special Agent (SA) Andrew Berger .
       The full advanced logical extraction of the device was not retained .




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   Investigation on     12/23/20 1 9       at   Washin g ton ,         Di s t r i ct Of Co l umbi a , Un i ted Sta t es                     ( In Pe r son)

  File#    2 8 2 B- NO- 3 1 7999 1                                                                                           Date drafted    12 / 2 3 / 2 0 1 9

  by - - - - - - - - - - - - - - - - - - - - - - -
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                           FEDERAL BUREAU OF INVESTIGATION
                                          Electronic Communication




          Title :       (U//FOUO) Request to transfer evidence item        Date:   01/06/2020
                        lBl from WFO to New Orleans Division


          CC: Clinton D. Epperson


          From:         WASHINGTON FIELD
                          WF-CR20
                          Contact : BERGER ANDREW , 703-686-6274

          Approved By:        SSA ARSENI GIULIO J

          Drafted By :        BERGER ANDREW

          Case ID# : 282B- NO - 3179991           (U//FOUO)




                                                 OFFICE ;
                                                 VICTIM-JERRY HAMILTON ROGERS/LOCATION - ST
                                                 TAMMANY PARISH ;
                                                 CONSPIRACY AGAINST RIGHTS



         Synopsis:  (U//FOUO) WFO requests IS-4 (Evidence Control Center) to
         transfer evidence item lBl to the New Orleans Division .

          Reference : 282B-NO-3179991 Serial 27
                      282B - NO-3179991 Serial 28
                      282B - NO-3179991 Serial 23

         Details:

          Pursuant to a lead from New Orleans Division (see referenced serial 23) ,
         WFO SA Andrew Berger conducted a limited consent search of an Apple
          iPhone on 12/23/2019. The evidence was collected and submitted to NVRA
         ECC on 12/23/2019 . The evidence item was labeled lBl . As captioned
          investigation is operating out of New Orleans Division , WFO requests IS-4


                                              UNCLASSIFIED//FOUO
     Case 2:20-cv-00517-JTM-DMD Document 116-3 Filed 07/09/21 Page 80 of 90


                             UNCLASSIFIED//FOUO
Title : (U//FOUO) Request to transfer evidence item 1B1 from WFO to New
Orleans Division
Re : 282B-NO-3179991 , 01/06/2020


to transfer evidence item 1B1 to New Or leans Division ECC .




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                   Case 2:20-cv-00517-JTM-DMD Document 116-3 Filed 07/09/21 Page 81 of 90

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                            FEDERAL BUREAU OF INVESTIGATION
                                              Electronic Communication




           Title :       (U//FOUO) Louisiana State Attorney                     Date :   01/08/2020
                         General ' s Office Declined Charges

           From :        NEW ORLEANS
                            NO - 16
                            Contact :   Clinton o _ Epperson , 504 - 816-3000

          Approved By:          SSA Vanessa M. Tibbits

          Drafted By:           Clinton D. Epperson

          Case ID# : 282B-NO-3179991




                                                    OFFICE ;
                                                    VICTIM-JERRY HAMILTON ROGERS/LOCATION-ST
                                                    TAMMANY PARISH ;
                                                    CONSPIRACY AGAINST RIGHTS



          Synopsis :         (U//FOUO) To document a telephonic conversation between writer
          and

          Details :

                   On January 7 , 2020 , FBI Special Agent Clinton D. Epperson spoke with
                                                               by phone concerning state
          charges of Criminal Defamation-14 : 47 against Jerry Rogers .

               ~             as assigned to review St . Tammany Parish Sherrif ' s Office ' s
           (STPSO) investigative case file against Rogers .              After reviewing the
          file , -             determined the Louisiana Attorney General ' s     (AG)
          Office would not pursue charges of Criminal Defamation-14 : 47 against
          Rogers.

               -             who had never seen the statute used for criminal prosecution


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     Case 2:20-cv-00517-JTM-DMD Document 116-3 Filed 07/09/21 Page 82 of 90


                               UNCLASSIFIED//FOUO
Title :  (U//FOUO) Louisiana Sta t e Attorney General ' s Office Declined
Charges
Re : 282B - NO - 3179991 , 01/08/2020


before , stated the use of Criminal Defamation - 14 : 47 was unconstitutional
based on the facts of the case which indicated STPSO
-         was the victim .                   of the AG ' s Office , and -         were
scheduled to meet with St . Tammany Parish                                  o inform
him of the AG ' s Office ' s declination .    The meeting was scheduled for
January 8 , 2020 .




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               Case 2:20-cv-00517-JTM-DMD Document 116-3 Filed 07/09/21 Page 83 of 90

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                                                                                          ~FBI~~



                            FEDERAL BUREAU OF INVESTIGATION
                                             Electronic Communication




           Title:        (U) Signature confirmation for delivery of           Date:   01/14/2020
                         1B1 Transferred to NOFO per serial 30

           From:         WASHINGTON FIELD
                           WF - IS4
                           Contact:

          Approved By:


          Drafted By:


          Case ID#:          282B - NO-3179991




                                                    OFFICE ;
                                                    VICTIM-JERRY HAMILTON ROGERS/LOCATION - ST
                                                    TAMMANY PARISH ;
                                                    CONSPIRACY AGAINST RIGHTS



          Synopsis:  (U) Signature confirmation for delivery of 1B1 Transferred to
          NOFO per serial 30 ; FedEx 1521 6058 3660

          Enclosure(s): Enclosed are the following items :
          1.  (U) Signature confirmation for delivery of 1B1 Transferred to NOFO
          per serial 30 ; FedEx 1521 6058 3660

          Details:

          Signature confirmation for delivery of 1B1 Transferred to NOFO per serial
          30 ; FedEx 1521 6058 3660




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               Case 2:20-cv-00517-JTM-DMD Document 116-3 Filed 07/09/21 Page 84 of 90

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                             FEDERAL BUREAU OF INVESTIGATION
                                                    Import Form




          Form Type : EMAIL - Email                                          Date:   01/15/2020

          Title : (U)        Jerry Rogers Received Declination Letter from AG

          Approved By :         SSA REED RONALD

          Drafted By :          Clinton D. Epperson

          Case ID#:           282B-NO-3179991       (U//FOUO) SENSITIVE INVESTIGATIVE MATTER




                                                   VICTIM-JERRY HAMILTON ROGERS/LOCATION-ST
                                                   TAMMANY PARISH ;
                                                   CONSPIRACY AGAINST RIGHTS



          Synopsis :  (U) On January 10 , 2020 , writer received an email from Jerry
          Rogers . The email contained a declination letter from Louisiana
                                            Attached is the email from Rogers that




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                Case 2:20-cv-00517-JTM-DMD Document 116-3 Filed 07/09/21 Page 85 of 90


FD-302 (Rev . 5-8-10)
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                                                                                                                            Date of entry        0 1 / 2 9/ 2 0 2 0



       On January 23 , 2 0 2 0 , FBI Special Agent Clint o n D. Epperson received an
       envelope by mail from the State of Louisiana Attorney General ' s                                                                       (AG)
       Office .           The envelope contained a copy of the AG ' s case file pertaining to
        St . Tammany Parish Sheriff ' s Office ' s                                      (STPS O) investigation and arrest of
        Jerry Rogers .

       The c o ntents of the envelope were made a a part of the case file via lA .




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   Investigationon      0 1 /23/2020        at   New Orl enas , Louisiana , United States (Mail , Phone)

  File #   282B - NO- 3 1 79991                                                                                                Date drafted    O1 / 2 7 / 2 0 2 0

  ~    Clinton D. Eppe r son
 This document contains neither recommendations nor concl usions of the FB I. It is the property of the FB I and is loaned to your agency; it and its contents are not
 to be distributed outside your agency.
                 Case 2:20-cv-00517-JTM-DMD Document 116-3 Filed 07/09/21 Page 86 of 90

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                            FEDERAL BUREAU OF INVESTIGATION
                                               Electronic Communication




           Title:        (U) St . Tammany Parish Sheriff ' s Office               Date:    02/05/2020
                         Facebook Profile


           CC: Vanessa M. Tibbits


           From:         NEW ORLEANS
                            NO - 20
                            Contact:


          Approved By:
                               Clinton D. Epperson

          Drafted By:


          Case ID#:          282B - NO - 3179991      (U// FOUO) SENSITIVE I NV ESTIGATIVE MATTER




                                                      OFFICE ;
                                                      VICTIM - JERRY HAMILTON ROGERS/LOCATION - ST
                                                      TAMMANY PARIS H;
                                                      CONSPIRACY AGAINS T RIGHTS



          Synopsis:    (U) To document screenshots captured from St . Tammany Par i sh
          Sheriff ' s Office Facebook profile

          Enclosure(s): Enclosed are the following items :
          1.  (U) Facebook profile screenshots

          Details:

           (U)                                      searched Facebook for the St . Tammany Parish
          Sheriff ' s Office (STPSO)          Facebook profile . On 28 October 2019 , a letter
          was posted on the Facebook profile , which                                      released to
          local media outlets .



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  Case 2:20-cv-00517-JTM-DMD Document 116-3 Filed 07/09/21 Page 87 of 90


                                 UNCLASSIFIED//LES
Title :  (U) St . Tammany Parish Sheriff ' s Office Facebook Profile
Re : 282B - NO-3179991 , 02/05/2020



(U) The letter pertained to the Nanette Krentel investigation and the
arrest of Jerry Rogers. The letter included statements regarding Rogers
sending anonymous emails to the victim ' s family concerning the homicide
investigation and violation of statue LSA- 14 : 47 .                stated
Rogers " harmed " the office ' s ability to solve the crime and chose to seek
a warrant for Rogers ' arrest . The letter stated Rogers received
psychiatric help after he threatened to commit suicide and tried to
commit " suicide by cop " after he was approached by investigators .
Facebook users ' comments included positive and derogatory statements
regarding STPSO . Some users commented STPSO ' s Facebok profile was
deleting negative comments .

(U) The Facebook profile identified the following contact information :

     (U) Telephone :
     (U) Email : pio@stpso . com
     (U) Website : http : //www . stpso . com

(U) Screenshots taken of STPSO ' s Facebook profile " about " section ,
                  letter , and available comments from Facebook users have
been added to the lA section of this case file .




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              Case 2:20-cv-00517-JTM-DMD Document 116-3 Filed 07/09/21 Page 88 of 90

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                           FEDERAL BUREAU OF INVESTIGATION
                                            Electronic Communication




          Title :        (U) DOJ Civil Rights Division Declined Case          Date:   02/11/2020

          From :        NEW ORLEANS
                           NO-12
                           Contact :   Clinton D. Epperson, 504-816-3000

          Approved By :        SSA Vanessa M. Tibbits

          Drafted By :         Clinton D. Epperson

          Case ID#:         282B - NO-3179991       (U//FOUO) SENSITIVE INVESTIGATIVE MATTER



                                                   OFFICE ;
                                                   VICTIM- JERRY HAMILTON ROGERS/LOCATION-ST
                                                   TAMMANY PARISH ;
                                                   CONSPIRACY AGAINST RIGHTS



         Synopsis :  (U) Civil Rights Division of the Department of Justice (DOJ)
         declined to move further on the captioned matter .

         Details:

               On February 3 , 2020 , SA Clinton D. Epperson spoke with DOJ Civil
         Rights Trial Attorney                            elephonically to discuss
         investigative strategy .

               According to -               DOJ supervisors determined the caption matter
         did not warrant further investigation based on a recent United States
         Supreme Court decision concerning 1st Amendment rights and the
         information investigators obtained to date .            -         said a declination
         letter would be provided to SA Epperson at a later date .




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              Case 2:20-cv-00517-JTM-DMD Document 116-3 Filed 07/09/21 Page 89 of 90

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                           FEDERAL BUREAU OF INVESTIGATION
                                            Electronic Communication




          Title:         (U) Evidence to be retained per DOJ-CRT           Date:   06/09/2020

          From:         NEW ORLEANS
                           NO-12
                           Contact:   Clinton D. Epperson , 504-816-3000

          Approved By:        SSA Vanessa M. Tibbits

          Drafted By:         Clinton D. Epperson

          Case ID# : 282B-NO-3179991             (U//FOUO) SENSITIVE INVESTIGATIVE MATTER



                                                 OFFICE ;
                                                 VICTIM- JERRY HAMILTON ROGERS/LOCATION-ST
                                                 TAMMANY PARISH ;
                                                 CONSPIRACY AGAINST RIGHTS



         Synopsis :  (U) _ Department of Justice (DOJ) Civil Rights Division (CRT)
         Trial Attorney                   requested evidence in the captioned matter
         be retained due to potential civil litigation . As a result, writer will
         place the mater in Pending Inactive status .

         Details :

         On May 28 , 2020 , DOJ CRT Trial Attorney                                  emailed
         SA Clinton D. Epperson . -                 requested the evidence in the captioned
         matter be retained due to the likelihood of the matter being litigated
         through civil proceedings .

         Due to DOJ-CRT's prior declination to prosecute this matter the case will
         be placed in Pending Inactive status until the retention of the evidence
         is no longer necessary .




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Title :  (U) Evidence to be retained per DOJ- CRT
Re : 282B - NO - 3179991 , 06/09/2020



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